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I.        Introduction

          1.      I, Michael Glacken, Sc.D., submit this rebuttal expert report on behalf of

    Defendants Celltrion Healthcare Co., Ltd., Celltrion, Inc. (together, “Celltrion”), and Hospira,

    Inc. (“Hospira”) (collectively, “Defendants”).

          2.      I previously submitted an opening expert report dated August 31, 2016 regarding

    my opinion on the validity of asserted claims 1 and 2 of U.S. Patent No. 7,598,083 (“the ’083

    patent”) (“Glacken Opening Invalidity Report”).        In that report, I described my relevant

    personal background and qualifications, as well as my compensation and prior experience as an

    expert witness.   I incorporate by reference, as if fully set forth herein, the opinions and

    information set forth in my opening expert report. 1

          3.      I submit this rebuttal expert report to offer my opinions regarding whether the

    accused products provided by HyClone Laboratories, Inc. (“HyClone”)—specifically, (a) HyQ

    ADCF Mab-New Production (HyClone Catalog No. SH3A2800 for the packaged unit and

    Catalog No. SH2A1132 for the bulk powder formulation) (“HyClone’s production product”)

    and (b) HyQ ADCF Mab-Growth (HyClone Catalog No. SH3A2713 for the packaged unit and

    Catalog No. SH2A1119 for the bulk powder formulation) (“HyClone’s growth product”)—

    infringe asserted claims 1 and 2 of the ’083 patent. I understand that Plaintiffs have not asserted

    infringement of products other than HyClone’s production product and HyClone’s growth

    product (collectively, “accused HyClone products”).




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  To the extent any of my opinions as to invalidity appear to be inconsistent with my opinions in
this report as to non-infringement, those invalidity opinions should be construed to be in the
alternative.
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      4.     I have been asked to review: (a) the opening infringement expert report of

Michael Butler, Ph.D. (the “Butler report”); (b) the opening infringement expert report of

Florian M. Wurm, Prof. Rer. Nat. (the “Wurm report”); (c) the supplemental declaration of

Professor Florian M. Wurm, Prof. Rer. Nat. concerning alleged infringement of the ’083 patent

(the “supplemental Wurm report”); and (d) the supplemental declaration of Michael Butler,

Ph.D. (the “supplemental Butler report”). The additional information on which I have relied to

form my opinions set forth in this report are provided at Ex. 87. Profs. Butler and Wurm have

opined that the accused HyClone products infringe each limitation of the asserted claims of the

’083 patent under the doctrine of equivalents. I have reviewed their analyses—including the

testing methods, underlying materials and assumptions used in forming their conclusions.

Based upon my review, it is my opinion that Prof. Butler, without presenting any supporting

information or data, made conclusions without equivocation based on generalizations, while

Prof. Wurm’s experimental design did not appropriately address the relevant scientific or legal

questions at issue.   Based on these deficiencies, and other reasons as stated below, their

opinions of infringement are unsupported.

      5.     The opinions to which I will testify at trial, if asked, are set forth in this report and

are based upon the information I have reviewed so far. The bases for my opinions include,

among other things: the materials cited in this report and the opening expert reports and

supplemental declaration of Profs. Butler and Wurm; my education and over 35 years of

experience, teaching, and performing research in the field of cell culture media; and my

understanding of the prior art and the knowledge of a person of ordinary skill in this art. My

opinions may be later amended, supplemented or modified in the event additional information is
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    made available to the parties or to respond to or rebut issues, statements, and opinions advanced

    by Janssen or its witnesses or experts at any time in this action. I may rely upon demonstrative

    exhibits at trial to assist in explaining my trial testimony.

II.        Summary Of Opinions

           6.      In my opinion, HyClone’s production and growth products do not infringe the

    asserted claims literally or under the doctrine of equivalents.

           7.      First, as for literal infringement, both Profs. Butler and Wurm concede that the

    accused HyClone products do not literally satisfy multiple concentration limitations in asserted

    claim 1 (and asserted dependent claim 2) of the ’083 patent. As a result, their opinions turn

    solely on application of the doctrine of equivalents. I agree that the accused HyClone products

    do not literally infringe the asserted claims of the ’083 patent.

           8.      Second, in my opinion, neither Prof. Wurm nor Prof. Butler has advanced a viable

    theory of infringement under the doctrine of equivalents—regardless of what Prof. Wurm’s

    testing shows—because, among other reasons:             (a) a person of ordinary skill in the art

    (“POSA”) 2 would read the intrinsic record as leaving little to no room for expanding the scope

    of the concentration ranges beyond what is disclosed in claim 1 under the doctrine of

    equivalents; (b) the broad infringement theory advanced by Janssen, through Profs. Wurm and

    Butler, essentially eliminates the ingredient concentration limitations; (c) there is no practical

    testing method for a skilled artisan to assess whether the accused products infringe under

    Janssen’s expansive application of the doctrine of equivalents such that the public could have




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    I defined a “person of ordinary skill” in my invalidity report and also below.
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fair notice of the boundaries of the claimed invention; and (d) Janssen’s infringement theory

expands the asserted claims to ensnare prior art.

      9.      Third, should Prof. Wurm’s testing even be considered, such testing does not

show that the accused products infringe under the doctrine of equivalents because, among other

reasons: (a) Prof. Wurm did not test actual samples of the accused HyClone products but

instead purported to replicate them; (b) Prof. Wurm admitted that he did not accurately

reproduce the HyClone growth product in conducting his testing due to what he referred to as an

inadvertent error; (c) in fact, he intentionally altered his formulations of the accused HyClone

products before conducting his experiments; (d) his “low-resolution” experiments on these

altered products were insufficient to properly assess infringement under the doctrine of

equivalents; (e) his experiments were not properly designed to, and did not, show equivalence

on a limitation-by-limitation basis; and (f) his experiments did not account for the effect of

including 29 additional ingredients that are not recited in the asserted claims.

      10.     Fourth, Prof. Butler’s opinions, which rely heavily on Prof. Wurm’s testing, do

not address these deficiencies and otherwise are insufficient to show that the accused products

infringe under the doctrine of equivalents. Prof. Butler relies on the supposition that the mere

presence of an ingredient dictates its function irrespective of its concentration, a supposition that

is not supported by the literature and for which he presents no supporting evidence.

      11.     Fifth, neither Prof. Butler nor Prof. Wurm addresses the fact that Celltrion and

Hospira had and have non-infringing alternatives to the accused products.

      12.     Sixth, Janssen has not and does not use the claimed soluble composition to grow

cells that produce Remicade®.        The subject matter claimed by the ’083 patent is not a
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    component or feature of infliximab or Remicade®, which itself is a complex, multi-faceted

    product that derives its efficacy from a number of features, none of which are claimed by the

    ’083 patent.

III.      Personal Background and Expert Qualifications

          13.      My personal background and expert qualifications are set out in full in the

    Glacken Opening Invalidity Report at Section II. My full curriculum vitae has been previously

    provided as Exhibit 3. 3

IV.       Legal Standards

          14.      I have been informed of the applicable legal standards relating to patent claim

    infringement. I have relied upon these legal principles, as explained to me by counsel, in

    forming my opinions set forth in this report.

          15.      I have been informed that plaintiffs bear the burden of proving infringement by a

    preponderance of the evidence. I understand that this means that plaintiffs must prove that the

    infringement is more likely than not to have occurred.

          16.      I have been informed that analyzing whether a particular product infringes any

    claims of a patent is a two-step process. The first step is to construe claims to determine the

    scope of the claimed invention, as understood by POSAs. The second step is to compare each

    accused product to the properly construed claim(s).

          17.      I understand that an accused product does not infringe unless it contains each and

    every element of the properly construed claim. I further understand that literal infringement

    requires that every limitation set forth in a claim must be found in an accused product.



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    Exhibits to this report continue from those provided in support of my opening invalidity report.
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      18.        I understand that infringement under the doctrine of equivalents comes into play

only when there is no literal infringement. I further understand that to find infringement under

the doctrine of equivalents, any differences between the claimed invention and the accused

product must be insubstantial.        One way of proving infringement under the doctrine of

equivalents is to show, for each claim limitation, on an element-by-element basis, that the

accused product performs substantially the same function in substantially the same way with

substantially the same result as each claim limitation of the patented invention (“the function-

way-result test”).

      19.        I understand that under the insubstantial differences test, an element in the

accused product is equivalent to a claim limitation if the only differences between the two are

insubstantial.     I further understand that a finding of known interchangeability, while an

important factor in determining equivalence, is not dispositive with respect to infringement

under the doctrine of equivalents.

      20.        I understand that both the insubstantial differences test and the function-way-

result test are considered in determining infringement under the doctrine of equivalents.

      21.        I understand that, when asserting infringement under the doctrine of equivalents, a

patentee must provide particularized testimony and linking argument as to the insubstantiality of

the differences between the claimed invention and the accused product, or with respect to the

function, way, result test when such evidence is presented to support a finding of infringement

under the doctrine of equivalents.        Such evidence must be presented on a limitation-by-

limitation basis, and generalized testimony as to the overall similarity between the claims and

the accused infringer’s product will not suffice.
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      22.     I also understand that, if applied, the doctrine of equivalents cannot read out or

vitiate a claim limitation. I understand that an infringement allegation under the doctrine of

equivalents will fail if it renders a claim limitation inconsequential or ineffective. For example,

I understand that if a proposed equivalent is the antithesis or exact opposite of the claimed

limitation, this cannot be insubstantially different from each other under the doctrine of

equivalents. Further, I understand that there are limitations to the doctrine of equivalents. For

example, if the claim language expressly excludes a potential equivalent, the excluded

equivalent cannot form the basis for infringement. Also, where a patentee has brought what

would otherwise be an equivalent of a limitation into the literal scope of the claim, the doctrine

of equivalents is unavailable to further broaden the scope of the claim.

      23.     I understand that the prior art can also limit the range of permissible equivalents

of a claim limitation, because the doctrine of equivalents cannot be so broad as to encompass

what was known and obvious in the prior art. I have been informed by counsel that when

determining whether the prior art restricts the possible range of equivalents, it may be helpful to

visualize a hypothetical patent claim that is broad enough in scope to literally cover the accused

product. I understand that the key inquiry is whether that hypothetical claim could have been

allowed by the Patent and Trademark Office (“PTO”) over the prior art. I understand that if

multiple references may be combined to show that the hypothetical claim would have been

obvious to a POSA, the hypothetical claim would not have been allowed and the patentee

cannot assert the doctrine of equivalents to cover the accused product. I understand that the

burden is on the patentee to prove that the range of equivalence it seeks would not ensnare the

prior art. I understand that while defendants must raise the defense of ensnarement, the patent
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holder bears the burden of proving that application of the doctrine of equivalents to show

infringement would not ensnare the prior art.

      24.     I understand that a dependent claim contains all of the limitations of the

independent claim from which it depends.

      25.     I understand that the existence of non-infringing alternatives may be relevant to

certain damages calculations and other issues in patent infringement suits. I further understand

that in order for an allegedly non-infringing alternative to be relevant, the alternative design

must be (a) acceptable to customers of the patented product, and (b) available on the market at

the time of infringement. However, I understand that an alternative that is not actually on the

market at the time of infringement may nonetheless be considered available if the alleged

infringer had all of the necessary equipment, know-how, and experience to make a substitution

as long as that substitution process would not be prohibitively costly.

      26.     I understand that to be an acceptable alternative, an alternative design must not

possess characteristics significantly different from or be otherwise inferior to the patented

product.

V.    Background

      A.      U.S. Patent No. 7,598,083

      27.     The ’083 patent, entitled “Chemically Defined Media Compositions,” issued on

October 6, 2009 to named inventors David Epstein, Roger Monsell, Joseph Horwitz, Susan

Lenk, Sadettin Ozturk, and Christopher Marsh.         Ex. 1.   I understand Janssen asserts that

HyClone’s production and growth products both infringe claims 1 and 2 of the ’083 patent (the

“asserted claims”).
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             1.     Asserted Claims 1 And 2 Of The ’083 Patent

      28.    Independent claim 1 of the ’083 patent recites as follows:

             1.      A soluble composition, suitable for producing a final volume of
             cell culture media, wherein the composition comprises the following
             components in the following amounts per liter of the final volume of cell
             culture media:

                    anhydrous CaCl2, 5-200 mg;
                    anhydrous MgCl2, 15-50 mg;
                    anhydrous MgSO4, 20-80 mg;
                    FeSO4.7H2O, 0.05-0.50 mg;
                    Fe(NO3)3.9H2O, 0.01-0.08 mg;
                    ZnSO4.7H2O, 0.40-1.20 mg;
                    ferric ammonium citrate, 0.04-200 mg;
                    KCl, 280-500 mg;
                    NaCl, 5000-7500 mg;
                    NaH2PO4.H2O, 30-100 mg;
                    Na2HPO4, 30-100 mg;
                    CuSO4.5H2O, 0.001-0.005 mg;
                    CoCl2.6H2O, 0.001-0.10 mg;
                    (NH4)6Mo7O24 4H2O, 0.001-0.005 mg;
                    MnSO4.H2O, 0.000070-0.0080 mg;
                    NiSO4.6H2O, 0.000025-0.0005 mg;
                    Na2SeO3, 0.004-0.07 mg;
                    Na2SiO3.9H2O, 0.02-0.4 mg;
                    SnCl2.2H2O, 0.000025-0.0005 mg;
                    NH4VO3, 0.0001-0.0025 mg;
                    D-Glucose, 500-8000 mg;
                    sodium pyruvate, 0.0-1000 mg;
                    sodium hypoxanthine, 0.0-20.0 mg;
                    glycine, 0.0-150 mg;
                    L-alanine, 0.0-150 mg;
                    L-arginine.HCl, 200-5000 mg;
                    L-asparagine.H2O, 40-250 mg;
                    L-aspartic acid, 20-1000 mg;
                    L-cysteine.HCl H2O, 25.0-250 mg;
                    L-cystine.2HCl, 15-150 mg;
                    L-glutamic acid, 0-1000 mg;
                    L-histidine.HCl.H2O, 100-500 mg;
                    L-isoleucine, 50-1000 mg;
                    L-leucine, 50-1000 mg;
                    L-lysine.HCl, 100-1000 mg;
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                      L-methionine, 50-500 mg;
                      L-ornithine.HCl, 0-100 mg;
                      L-phenylalanine, 25-1000 mg;
                      L-proline, 0-1000 mg;
                      L-serine, 50-500 mg;
                      L-taurine, 0-1000 mg;
                      L-threonine, 50-600 mg;
                      L-tryptophan, 2-500 mg;
                      L-tyrosine.2Na.2H2O, 25-250 mg;
                      L-valine, 100-1000 mg;
                      d-biotin, 0.04-1.0 mg;
                      D-calcium pantothenate, 0.1-5.0 mg;
                      choline chloride, 1-100 mg;
                      folic acid, 1-10 mg;
                      i-Inositol, 10-1000 mg;
                      nicotinamide, 0.5-30 mg;
                      p-aminobenzoic acid, 0.1-20 mg;
                      riboflavin, 0.05-5.0 mg;
                      thiamine.HCl, 0.5-20 mg;
                      thymidine, 0-3.0 mg;
                      vitamin B12, 0.05-5.0 mg;
                      linoleic acid, 0.01-2.0 mg;
                      DL-α-lipoic acid, 0.03-1.0 mg;
                      pyridoxine.HCl, 0.5-30 mg;
                      putrescine.2HCl, 0.025-0.25 mg; and
                      ethanolamine.HCl, 2-100 mg.

Ex. 1 at claim 1.

       29.     As shown above, the soluble composition of claim 1 comprises 61 separate

ingredients, each in a specific concentration range. Many of these ingredients are claimed as

specific “forms” of the ingredient, such as anhydrous versus hydrous. In other words, while the

patentee could have sought to claim an ingredient generally, such as L-histidine, here the

specific form of L-histidine.HCl.H2O is claimed.

       30.     As noted, I understand that each ingredient in the claimed final volume of cell

culture media must be present in an amount that falls within a specific concentration range to

literally infringe the asserted claims. The named inventors appear to have selected a specific
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concentration range for each of the specific ingredients in claim 1. These concentration ranges

vary from only a 1.5 fold difference for the ingredient NaCl (the difference between the

minimum and maximum claimed concentrations of 5000-7500 mg/L), to a 5,000-fold difference

for ferric ammonium citrate (0.04-200 mg/L). In my opinion, a POSA would recognize the

wide disparity in the claimed ranges for each ingredient in claim 1 and would reasonably

conclude and understand that each of these specific concentration ranges were intentionally and

independently selected for each ingredient.

      31.     Nine of the claimed 61 ingredients may be present in an amount as little as 0.00

mg/L of the final volume of cell culture media. These ingredients are: (a) sodium pyruvate,

(b) L-alanine, (c) glycine, (d) L-proline, (e) L-glutamic acid, (f) L-taurine, (g) L-ornithine.HCl,

(h) sodium hypoxanthine, and (i) thymidine.         I understand that Janssen considers these

ingredients as optional in the claimed soluble composition, and I do not dispute that position in

this report. See, e.g., Butler report at ¶ 37. A POSA would take note of these optional

ingredients and would consequently note the 52 non-optional ingredients. By definition, non-

optional ingredients must be present, i.e., at a specific non-zero concentration, and a POSA

would reasonably assume that the lower limit of the range listed for each ingredient in claim 1

would constitute the minimum value of this non-zero concentration.

      32.     Asserted claim 2, which depends upon claim 1, recites as follows:

              2.    The soluble composition of claim 1 further comprising a buffering
              molecule with a pKa between 5.9 and 7.8 and a cell protectant.

      33.     Notably, unlike the 61 ingredients recited in claim 1, claim 2 does not recite

specific ingredients or specific concentrations for those ingredients. Therefore, the ingredients

required by claim 2 may be present in the soluble composition in any form or amount. To a
    Case
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POSA, this reinforces the significance of the specific forms of the ingredients and concentration

ranges claimed in claim 1. A POSA would understand that, where the claims recite specific

forms or concentration ranges for an ingredient, that is essential to defining the claimed

invention.

      34.     Further, and as described in more depth below, the specification of the ’083 patent

describes a single soluble composition identified as MET 1.5 and a class of potential variants of

MET 1.5. This soluble MET 1.5 composition is specifically claimed in claim 6 of the ’083

patent and also falls within the scope of claim 1.

      35.     I further discussed the asserted claims of the ’083 patent in the Glacken Opening

Invalidity Report—which, again, is incorporated by reference.

              2.      Specification Of The ’083 Patent

      36.     The specification of the ’083 patent explains, in its discussion of the field of the

invention, that “[t]he present invention relates to chemically defined media compositions for the

culture of eukaryotic cells.”     Ex. 1 at 1:13-14.     Within this field, “[c]ontamination of

conventional eukaryotic cell culture media with ‘adventitious particles’ such as bacterial, virus,

or prion particles is a serious potential problem in the industrial preparation of

biopharmaceuticals such as antibodies or therapeutic proteins.” Id. at 1:17-21. Contaminated

cell culture media can infect biopharmaceutical products, which risks causing infections and

diseases, like Mad Cow Disease, to patients administered those biopharmaceutical products. Id.

at 1:21-42. “Adventitious particle contamination of conventional eukaryotic cell culture media

can result from the incorporation of animal-derived components and protein growth factors into

conventional media.” Id. at 1:32-35. But this “contamination can be avoided by culturing
     Case
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 eukaryotic cells in animal component free cell culture media.             Ideally, such media are

 ‘chemically defined’ such that the media compositions contain only known chemical

 compounds, and are free of all proteins—even those not of animal origin such as recombinant

 proteins.” Id. at 1:44-49.

       37.        The specification further states that there is a need for “chemically defined media

 compositions” optimal for the production of biopharmaceutical production that satisfy the

 following four criteria:

       First, such compositions must limit eukaryotic cell damage resulting from shear
       forces and other cell-damaging processes that occur in the bioreactor vessels
       typically used for biopharmaceutical production. Second, such compositions must
       enable eukaryotic cell cultures to have high viable cell densities (i.e., number
       viable cells/ml media) and high percentages of viable cells. Third, such
       compositions must permit high titers of secreted biopharmaceutical products (i.e.,
       antibody mg/L media) and high specific productivities (i.e., pg antibody/viable
       cell/day). Lastly, such compositions must limit the production of lactic acid by
       cultured eukaryotic cells to permit the most efficient cellular use of glucose.

Id. at 1:52-67.

       38.        The specification identifies only a single soluble composition identified as MET

 1.5, which is “typically . . . a powder,” for preparing a chemically defined media composition.

 Id. at 6:5-7:6. In Examples 1-3, the ’083 patent presents data purportedly showing that the

 “chemically defined MET 1.5 media” made from the soluble composition meets three of the

 recited criteria for the optimal production of biopharmaceuticals: (a) “high cell growth and

 viability” (Example 1); (b) “high monoclonal antibody titers and specific productivity”

 (Example 2); and (c) “decreased lactate production” (Example 3). Id. at 9:40-10:43; see also id.

 at 1:52-64. The MET 1.5 medium contains the same ingredients as recited in claim 1, including
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    the 9 optional ingredients, with each ingredient present in an amount within the claimed

    concentration ranges. Compare id.; with id. at claim 1.

           39.    The ’083 patent further identifies a class of soluble compositions, referred to as

    “MET,” which is recited in claim 1. Id. at 5:4-6:4; see also id. at claim 1. The MET 1.5 soluble

    composition is an example—indeed, the only specific example provided in the ’083 patent—of

    a member of this class of MET compositions. Compare id. at 5:4-6:4; with id. at 6:5-7:6. The

    only difference between the MET 1.5 soluble composition and the class of MET soluble

    compositions is the specific concentrations of the ingredients, with the concentration ranges of

    the MET class encompassing the specific concentrations of the MET 1.5 soluble composition.

    Id. There is no information in the specification to suggest that the inventors had created, let

    alone tested, any other compositions within the class of MET compositions, other than the

    specific MET 1.5 soluble composition.

           40.    When read as a whole, the specification of the ’083 patent indicates to a POSA

    that the named inventors had developed the MET 1.5 composition, but they further believed,

    without providing data or scientific support in the specification, that certain modifications of the

    amounts of the ingredients in that MET 1.5 composition can be made. Thus, a POSA would

    understand that they defined the class of MET compositions as equivalents to the MET 1.5

    composition, with specific concentration ranges, to disclose the entire scope of variations and

    equivalents of the MET 1.5 soluble composition that they considered to be covered by their

    patent. 4


4
  As discussed in the Glacken Invalidity Report, I disagree that the MET 1.5 medium is
representative of the full class of the MET media. See Glacken Invalidity Report ¶¶ 268-274.
For example, without explanation, 9 ingredients provided in the MET 1.5 medium are listed as
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       41.     In my review of the specification, I have found no data or support for increasing

or decreasing any of the concentration ranges beyond those literally recited in claim 1. I have

also found no complete experimental protocol that would allow a POSA to determine whether

or not a particular cell culture medium that contains these ingredients but outside of the claimed

concentration ranges would be equivalent or not to the claimed invention.

       42.     I further discussed the specification of the ’083 patent in the Glacken Opening

Invalidity Report and incorporate that discussion here.

               3.     Prosecution History Of The ’083 Patent

       43.     I have also reviewed the prosecution history of the ’083 patent. I understand that

the file history of the ’083 patent provides the rejections made by the patent examiner and the

patentees’ responses to those rejections.

       44.     For example, I understand that the ’083 patent originally contained the following

claim language:

               1.     A soluble composition, suitable for producing a cell culture media,
               wherein the media comprises the following components in the following
               amounts per liter: ….

The original claims, however, were rejected by the examiner as indefinite under 35 U.S.C. § 112

because “[c]laims 1 and 4 are drawn to a ‘soluble composition,’ but the components are

expressed as various weights ‘per liter’…” Ex. 64, (Excerpt from ’083 file history at Jan. 9,

2008 Non-final rejection), at 2. The examiner stated that “[i]t is not clear whether these claims

are meant to be drawn to, e.g., a dry powder comprising various weights of dry components that

can then be added to water, or to the liquid media per se.” Id.


optional in the class of MET media. The ’083 patent does not address how the MET media
would function in the absence of these ingredients.
        Case
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          45.     The examiner proposed amendments that would “clarify that these claims are

    drawn to a composition … [that is] solubilized in the water such that the solid composition is

    provided in an amount relative to the final media volume.” Id. at 5.

          46.     In response, the patent applicants amended the claims 5 as shown here:




Ex. 65, (Excerpt from ’083 file history, Jan. 22, 2008 Amendment/request for reconsideration

after non-final rejection), at 3, 10.

          B.      The Level Of Ordinary Skill In The Art

          47.     I understand that patent claims should be viewed from the perspective of a POSA.

    In the Glacken Opening Invalidity Report, I provided my opinion on the level of ordinary skill

    in the art. See Glacken Opening Invalidity Report at ¶ 65. In my opinion, a POSA would have

    a doctorate degree in biochemistry, molecular biology, or a related field with one or two years

    of direct experience in formulation of and use of cell culture media in the context of

    biopharmaceutical product production.       A POSA could also have fewer years of formal

    education if they held either a bachelor’s or master’s degree in the same fields listed above but

    also had several years of hands-on experience in academic or industrial laboratories in this area.

          48.     Profs. Butler and Wurm have not offered an opinion on the level of ordinary skill

    in the art in their opening infringement reports. 6 Thus, it is unclear whether Profs. Butler and


5
 I understand that the patentees also did not traverse the rejection. I have been instructed that,
by not traversing the rejection, this means that the patentees did not record any disagreement
with the PTO’s reason for rejection.
        Case
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    Wurm agree with my opinion or have applied an alternative definition of the level of ordinary

    skill in their infringement analysis. I reserve the right to address any opinion by Profs. Butler

    and/or Wurm on this issue in any additional report I may submit in this case, or at trial.

             C.    Claim Construction

             49.   I understand the Court has ruled that the term “cell culture media” means

    “nutritive media for culturing cells.” Ex. 66 (Claim construction memorandum and order, Dkt.

    226,) at 5. In rendering my opinion, I have assumed the other claim terms will take on their

    plain and ordinary meaning to a POSA. I reserve the right to supplement my opinions should

    different meanings or constructions of claim terms be proposed by Plaintiffs or set forth by the

    Court.

             D.    The Accused HyClone Cell Culture Products

                   1.     The Accused Products As Supplied By HyClone

             50.   Janssen asserts that HyClone’s production and growth products infringe asserted

    claims 1 and 2 of the ’083 patent. My understanding is that HyClone prepares these products in

    powder form in the United States (and may prepare them in Singapore), and the products are

    then shipped to Celltrion in South Korea. See Ex. 67 (HyClone Certificate of Analysis for

    growth product) at CELLREM-0007989 (“Off-white powder”), (HyClone Certificate of

    Analysis for production product) at CELLREM-0007996 (“Off-white powder”). I understand

    that, for the purpose of an infringement analysis, the relevant inquiry is whether the powders as

    manufactured by HyClone in the United States infringe the asserted claims. As a result,

    although Janssen and the documents may refer to the accused HyClone products as “media,”


6
 I note that Prof. Wurm commented on the level of ordinary skill in the art in his declaration and
during his deposition in the context of claim construction.
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that technically is a misnomer. The accused products are soluble compositions in the form of

powders, not liquid media, that are produced in the United States.

        51.    I understand that Janssen carries the burden to prove that every claim limitation is

met by the accused products. In an effort to satisfy Janssen’s burden, Profs. Wurm and Butler

report the following ingredients in amounts per liter for HyClone’s production and growth

products (although they do not explain how they obtained these reported concentrations):

                                        Glacken Table 1
                                                              HyClone              HyClone
               Ingredients in HyClone Product
                                                           Production (mg)        Growth (mg)




 9.                SODIUM CHLORIDE                           4556.829915          5582.7323851

 10.     SODIUM PHOSPHATE MONOBASIC H2O                        262.965              227.1698

 11.          SODIUM PHOSPHATE DIBASIC                         432.635              374.1491

 12.             COPPER SULFATE-5H2O                         0.00062087            0.0005367

 13.            COBALT CHLORIDE 6H2O                         0.000427582           0.0003693

 14.          AMMONIUM MOLYBDATE 4H2O                        0.00111575            0.0009636
       Case
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                                   Glacken Table 1
                                                        HyClone             HyClone
             Ingredients in HyClone Product
                                                     Production (mg)       Growth (mg)



 16.            NICKEL SULFATE-6H2O                    0.00109275           0.00094471




 19.         STANNOUS CHLORIDE 2H2O                    0.0000092            0.0000079

 20.        AMMONIUM METAVANADATE                      0.0000532            0.0000460




 25.              L-ARGININE-HCL                         73.273             63.3395100

 26.             L-ASPARAGINE-H2O                        3.72475            3.2208020




 31.            L-HISTIDINE-HCL-H2O                     15.63925            13.5203380




 35.               L-METHIONINE                          43.428             37.5687000
       Case
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                                   Glacken Table 1
                                                        HyClone             HyClone
             Ingredients in HyClone Product
                                                     Production (mg)       Growth (mg)




 44.                  L-VALINE                          104.7865            90.5603400
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                                   Glacken Table 1
                                                        HyClone          HyClone
            Ingredients in HyClone Product
                                                     Production (mg)    Growth (mg)
     Case
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                                       Glacken Table 1
                                                            HyClone             HyClone
               Ingredients in HyClone Product
                                                         Production (mg)       Growth (mg)




Wurm report at Annex 1 at Table 10.

       52.     The accused HyClone products each contain 88 ingredients, including 29

ingredients that are not recited in claim 1 of the ’083 patent. These additional ingredients

include proteins, i.e.,                               and        , and chemically undefined

ingredients, i.e.,           and                . The presence of these proteins and chemically

undefined ingredients disqualifies the accused media from fulfilling the stated goal of the ’083

patent to satisfy “a need . . . for chemically defined media compositions which satisfy [certain

recited] criteria and are optimized for biopharmaceutical production.” Ex. 1 (’083 patent) at
    Case
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1:44-67 (emphasis added). Specifically, the accused HyClone products are not “chemically

defined” media compositions “such that the media compositions contain only known chemical

compounds, and are free of all proteins—even those not of animal origin such as recombinant

proteins.” Id. at 1:44-49. In my opinion, as explained further below, this alone disqualifies

these accused products from being considered insubstantially different from the ’083 patent

claims 1 and 2, as these products do not meet the stated goal of the claims, as set out in the ’083

patent specification.

              2.        The Media As Used By Celltrion In South Korea

      53.     Once HyClone’s products are shipped to Celltrion in South Korea, Celltrion

combines the accused products with other supplements to create the media that is used in the

production of its biosimilar infliximab product. See Ex. 68 (GR-MF-09-090 (Upstream Process

Description for the Production of 000B)) at CELLREM-0061050-52.                 I understand that

Plaintiffs have not made Celltrion’s use of HyClone’s products in South Korea the focus of their

infringement inquiry.

              3.        HyClone’s Manufacturing Of The Accused Products In Singapore

      54.     I understand from the discovery record that HyClone has a manufacturing plant in

Singapore, Celltrion has issued purchase orders for the accused HyClone products from that

Singapore plant, and I have been informed by counsel that Celltrion intends to primarily (if not

exclusively) source those products from HyClone’s Singapore plant, instead of HyClone’s plant

in the United States (Utah).     See Ex. 69 (Purchase Orders to GE Healthcare PTE. LTD

(Singapore)) at CELLREM-0347016-17. My understanding from counsel is that the accused

products, if manufactured and used outside of the United States, could not infringe the asserted
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patent claims, regardless of Janssen’s infringement contentions regarding the doctrine of

equivalents. I reserve the right to testify at trial as to any updates on this factual issue following

the submission of this report.

VI.    The Accused HyClone Products Do Not Literally Infringe Claims 1 And 2 Of The
       ’083 Patent.

       55.    It is my opinion that neither of the accused HyClone products literally infringes

the asserted claims of the ’083 patent. Both Profs. Wurm and Butler admit that the accused

products do not literally satisfy at least a dozen claim limitations. Butler report at ¶¶ 37-40;

Wurm report at ¶¶ 48-50. According to Profs. Wurm and Butler, 13 claim limitations are

missing in HyClone’s growth product, and 12 are missing in HyClone’s production product.

Butler report at ¶ 38. This is shown in Table 1 below from Prof. Wurm’s report (Table 2 of

Prof. Butler’s report):
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        56.   The accused products provide some of the claimed ingredients in a different form

than what is claimed and thus not literally infringe the claim limitations.

VII.    Profs. Wurm And Butler Have Not Offered An Appropriate Theory Of
        Infringement Under The Doctrine Of Equivalents.

        57.   In my opinion, Profs. Wurm and Butler have not offered an adequate theory of

infringement under the doctrine of equivalents for each of the missing claim limitations. That
    Case
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is, in my opinion, Janssen cannot meet its burden of showing infringement regardless of what

Prof. Wurm’s testing shows.

      58.     As discussed above, the accused products are not “chemically defined,” in that

they include chemically undefined ingredients as well as proteins. Thus, in my opinion, a

POSA would not consider the accused products to fall within what the inventors considered to

be the field of their claimed invention—i.e., “chemically defined media compositions for the

culture of eukaryotic cells.” Ex. 1 (’083 patent at 1:12-14); see also id. at 4:30-31. Nor would a

POSA consider that the accused products which contain undefined ingredients function in the

same way, because the purpose of claims 1 and 2 was to provide chemically defined soluble

compositions. Nevertheless, I understand that the Court’s construction of “cell culture media”

may, as a legal matter, mean the scope of the patent covers certain soluble compositions even if

they include chemically undefined ingredients (such as hydrolysates) and proteins.

      59.     Even assuming that to be the case, in my opinion—regardless of what Prof.

Wurm’s testing shows (which I address later in this report)—Profs. Wurm and Butler have not

justified expanding the literal scope of claims 1 and 2 to cover the accused products under the

doctrine of equivalents. This is because: (a) based on the intrinsic record, a POSA would

consider the claimed concentration ranges to define the outer bounds of the claimed invention

under the doctrine of equivalents; (b) the broad claim interpretation advanced by Profs. Wurm

and Butler essentially reads the concentration limitations out of claim 1; (c) a POSA would have

no guidance to conduct tests to assess infringement under the infringement theory advanced by

Profs. Wurm and Butler; and (d) construing the asserted claims broadly enough to capture the

accused products would ensnare prior art.
    Case
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      A.      A POSA Would Consider The Concentration Limitations of Claims 1 and 2
              To Define The Outer Bounds Of The Claimed Invention.

      60.     A POSA reviewing the ’083 patent would believe that the asserted claims should

not be afforded a broader range of equivalents for each of the claimed concentration ranges—

because these ranges represent the furthest reach of the purported invention.

      61.     As discussed, the ’083 patent sought to address an express need in the art for a

chemically defined media composition that was optimal for the production of biopharmaceutical

products. Ex. 1 (’083 patent), at 1:52-67. That composition was MET 1.5. The ’083 patent

describes a single example and embodiment of the alleged invention, referred to as the MET 1.5

medium. Id. at 6:5-7:6. In Examples 1-3, the patent asserts that the “chemically defined MET

1.5 media” fulfill three of the express criteria for the optimal production of biopharmaceutical

products: (a) “high cell growth and viability” (Example 1); (b) “high monoclonal antibody titers

and specific productivity” (Example 2); and (c) “decreased lactate production” (Example 3). Id.

at 9:40-10:43; see also id. at 1:52-64. The MET 1.5 medium is recited in claim 6 of the ’083

patent. See id. at claim 6. I understand that claim 6 is not asserted against Defendants.

      62.     As compared to the MET 1.5 medium (and corresponding unasserted claim 6), the

soluble composition of claim 1 (called generically the “MET” composition) contains the exact

same ingredients. Compare id. at 6:5-7:6 with claim 1. The only difference is the ingredient

concentrations, with claim 1 reciting concentration ranges for each named ingredient that

encompass the specific concentrations found in the MET 1.5 composition. Id. For example,

L-histidine HCL H2O is disclosed in MET 1.5 media composition and claimed in claim 6 as

250.55 mg, but it is claimed as a range of 100-500 mg in the MET media composition and in

claim 1. The lone example of a composition within this range from the specification—the MET
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1.5 composition—illustrates to a POSA that the concentration ranges in claim 1 must have

meaning. In view of the single embodiment of the MET 1.5 composition and the patent claims,

a POSA would reasonably infer that, at least according to the named inventors, the MET

composition, as claimed in asserted claim 1, represents the permissible range of equivalents of

the MET 1.5 composition. In other words, a POSA would read claim 1 already to cover and

capture a range of equivalents for the concentration ranges of the specific ingredients, because

claim 1 already incorporates broader concentration ranges than the sole MET 1.5 composition

that the inventors made, disclosed, and tested in the ’083 patent.

      63.     The language of claim 1 itself confirms that the inventors carefully chose the

upper and lower concentration ranges for each of the recited ingredients. Evidence of this is

suggested by the tremendous variance in the relative breadth of concentration ranges specified

by claim 1 of the ’083 patent. This may be most easily seen by calculating the ratio of the high

end of the claimed range to the low end of the claimed range for each ingredient from the ’083

patent. Ingredients with the lowest ratios (i.e., narrowest ranges) are NaCl (1.5-fold difference

[5000 – 7500 mg/L]), KCl (1.8-fold difference [280 – 500 mg/L]) and ZnSO4.7H2O (3-fold

difference, [0.40-1.20 mg/L]) while ingredients with the highest ratios (i.e., widest ranges) are

ferric ammonium citrate (5000-fold difference [0.04-200 mg/L]) and L-tryptophan (250-fold

difference, [2-500 mg/L]). Indeed, there are 23 different ratios for the maximum to minimum

concentrations specified among the 52 non-optional ingredients. Table 2 provides the number

of ratio differences among the 52 ingredients in claim 1.
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                                        Glacken Table 2
                                Occurrence of Max/Min Ratio
     Max/Min Ratio 1.5 1.8          3   3.3   4    5   6.3      8   10     12   16     18
       Occurrence        1    1     1    3    1    3    1       1   10     1     1     1
                                Occurrence of Max/Min Ratio
        Max/Min
                        20    25   33    40   50 60 100 114 200 250 5000 Opt.
         Ratio
       Occurrence        5    3     1    3    3    2    5       1   2      1     1     9


      64.     Given the tremendous variety of these ratios of the maximum specified

concentrations to the minimum specified concentrations, a POSA would conclude these

concentrations are indeed meaningful, as clearly the inventors did not arbitrarily specify a

uniform 2-fold, 5-fold, 10-fold, or 100-fold concentration span on either side of each of the

MET 1.5 concentrations. Given these unique maximum-to-minimum concentrations and ratios

specified by claim 1 for nearly half of the ingredients, a POSA would reasonably conclude that

these concentrations and ratios were deliberately established and supported as equivalents of

MET 1.5. The fact that 9 ingredients are deemed optional, in that their minimum concentrations

may be 0, further enforces this notion. That is, the 52 non-optional ingredients must be

included in the medium at some non-zero concentration. A POSA would reasonably assume

that these minimum non-zero concentrations for each ingredient would be the lower value of the

concentration ranges specified in claim 1 of the ’083 patent.

      65.     A POSA would also understand that the forms and concentration limits for the

ingredients recited in claim 1 are critical in view of claim 2. Claim 2 recites two additional

types of ingredients—a buffering molecule and a cell protectant—that may be added to the

soluble composition of claim 1 in any amount. Notably, the inventors did not specify any
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particular form or amount for either of these ingredients. This shows a POSA that the inventors

claimed particular forms and concentrations when important to defining their claimed invention,

and they omitted form and concentration limitations when such a limitation would be less

important to the claimed invention.

        66.   A POSA would have further read the claimed concentration limitations of claim 1

more strictly given the advanced state of the prior art. The soluble composition of the ’083

patent is not a pioneering or first-of-its-kind invention. As discussed in my opening expert

report, the field of cell culture media was well-developed by the asserted priority date of

October 2004.    See generally Glacken Invalidity Report ¶¶ 67-201.       Each of the claimed

ingredients was commonly used in cell culture media in amounts that overlap with the claimed

concentration ranges. Id. ¶¶ 202-260. Claim 1, therefore, already is directed to equivalents of

the ingredients found in the specific chemically defined cell culture media composition (MET

1.5).

        67.   I understand that where, as here, a patentee has brought what would otherwise be

equivalents of a limitation into the literal scope of the claim, the doctrine of equivalents is

unavailable to further broaden the scope of the claim. I understand that in these circumstances,

a patentee cannot rely on the doctrine of equivalents to encompass equivalents of equivalents.

        68.   Given the intrinsic record and the extensive prior art, a POSA would afford the

’083 patent a narrow range of equivalents for the claimed compositions and not more than the

MET composition claimed in claim 1. As I discuss in more depth below, a POSA certainly

would not afford the asserted claims the breadth advanced by Profs. Wurm and Butler, because

doing so would mean that the many concentration limits in the asserted claims go well beyond
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    the inventors’ supposed contribution, would be effectively meaningless, and would ensnare

    prior art.

           B.      The Broad Infringement Theory Advanced By Profs. Wurm And Butler
                   Essentially Eliminates Claim Limitations.

           69.     I understand that each element contained in a patent claim is considered important

    to defining the scope of the claimed invention. I further understand that the application of the

    doctrine of equivalents, even as to a single claim element, cannot be so broad as to effectively

    eliminate that element in its entirety.

           70.     Even accepting the ingredient concentrations as reported by Profs. Wurm and

    Butler, the accused products contain multiple claimed ingredients that are more than double the

    maximum claimed concentrations or less than half the minimum claimed concentrations.

    Below are charts that illustrate this point: 7

                                              Glacken Table 3

          Ingredients Present In Amounts Less Than The Claimed Concentration Range
                                         Amount in HyClone’s            % of the Lower Limit
        Elements of ’083 Patent
                                          Production Product                of the Claim
        CoCl2.6H2O,                    COBALT CHLORIDE 6H2O,
                                                                          43% of lower limit
        0.001-0.10 mg;                      0.000427582 mg
        SnCl2.2H2O,                   STANNOUS CHLORIDE 2H2O,
                                                                          37% of lower limit
        0.000025-0.0005 mg;                  0.0000092 mg
        L-arginine.HCl,                   L-ARGININE-HCL,
                                                                          37% of lower limit
        200-5000 mg;                            73.273 mg
        L-histidine.HCl.H2O,            L-HISTIDINE-HCL-H2O,
                                                                          16% of lower limit
        100-500 mg;                           15.63925 mg
        L-asparagine.H2O,                L-ASPARAGINE-H2O,
                                                                           9% of lower limit
        40-250 mg;                             3.72475 mg


7
 Profs. Butler and Wurm note that the accused HyClone products also contain other forms of the
active component for L-arginine, L-histidine, L-asparagine, and copper. These other forms are
not recited in claim 1.
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                                  Glacken Table 4

    Ingredients Present in Amounts Greater Than The Claimed Concentration Range
                                Amount in HyClone’s        % of the Upper Limit
   Elements of ’083 Patent
                                 Production Product            of the Claim
                               SODIUM PHOSPHATE
   Na2HPO4,
                                  DIBASIC, ANHY,            433% of upper limit
   30-100 mg;
                                     432.635 mg
                               SODIUM PHOSPHATE
   NaH2PO4.H2O,
                                 MONOBASIC H2O,             263% of upper limit
   30-100 mg;
                                     262.965 mg
   NiSO4.6H2O,                NICKEL SULFATE-6H2O,
                                                            219% of upper limit
   0.000025-0.0005 mg;             0.00109275 mg

                                  Glacken Table 5

     Ingredients Present In Amounts Less Than The Claimed Concentration Range
                          Amount in HyClone’s Growth       % of the Lower Limit
   Elements of ’083 Patent
                                    Product                    of the Claim
                                AMMONIUM
   NH4VO3,
                         METAVANADATE, 0.0000460            46% of lower limit
   0.0001-0.0025 mg;
                                      mg
   CoCl2.6H2O,            COBALT CHLORIDE 6H2O,
                                                            37% of lower limit
   0.001-0.10 mg;               0.0003693 mg
   SnCl2.2H2O,           STANNOUS CHLORIDE 2H2O,
                                                            32% of lower limit
   0.000025-0.0005 mg;          0.0000079 mg
   L-arginine.HCl,           L-ARGININE-HCL,
                                                            32% of lower limit
   200-5000 mg;                63.3395100 mg
   L-histidine.HCl.H2O,    L-HISTIDINE-HCL-H2O,
                                                            14% of lower limit
   100-500 mg;                 13.5203380 mg
   L-asparagine.H2O, 40-    L-ASPARAGINE-H2O,
                                                             8% of lower limit
   250 mg;                      3.2208020 mg
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                                            Glacken Table 6

    Ingredients Present in Amounts Greater Than The Claimed Concentration Range
                                  Amount in HyClone’s Growth           % of the Upper Limit
   Elements of ’083 Patent
                                            Product                        of the Claim
                                    SODIUM PHOSPHATE
   Na2HPO4,
                                      DIBASIC, ANHY,                     374% of upper limit
   30-100 mg;
                                         374.1491 mg
                                    SODIUM PHOSPHATE
   NaH2PO4.H2O,
                                      MONOBASIC H2O,                     227% of upper limit
   30-100 mg;
                                         227.1698 mg
   NiSO4.6H2O,                     NICKEL SULFATE-6H2O,
                                                                         188% of upper limit
   0.000025-0.0005 mg;                 0.00094471 mg

      71.     Applying the doctrine of equivalents to differences of this magnitude would

essentially eliminate the claim limitations that require particular ingredients within specified

concentration ranges. In essence, to support Janssen’s contention of infringement, Profs. Wurm

and Butler opine that only the active component of the ingredients recited in claim 1—and not

the specific concentration ranges for the ingredients—matters for purposes of assessing

infringement. In other words, Profs. Wurm and Butler’s infringement opinions and analyses

render concentration claim limitations meaningless.

      72.     For example, Prof. Butler’s discussion of the 5 trace element-containing

ingredients shows how his analysis eliminates the claim limitations that require ingredients in

specific concentration ranges.      Prof. Butler states that, “[g]enerally speaking, the precise

concentrations of the trace element-containing ingredients are not critical. What is important is

that there be a sufficient amount present to fulfill the biological function of the element, and that

the ingredient be present in trace amounts (and that the concentration not be so high as to be

toxic to the cells).” Butler report ¶ 42.
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      73.     I disagree with Prof. Butler’s interpretation of the concentration limitations. First,

the inventors could have tried to define their invention in functional terms (e.g., “a sufficient

amount present to fulfill the biological function of the element”), but they did not do that.

Instead, they chose specific concentration ranges, which the PTO accepted with modification.

      74.     Second, Prof. Butler offers no scientific reason why a POSA would read the

concentration limits of the asserted claims to be “not critical.” Id. Prof. Butler does not identify

any support in the patent specification or claims suggesting that the specific concentration limits

may extend to an amount as little as “a sufficient amount present to fulfill the biological

function of the element,” or as much as “the concentration not be so high as to be toxic to the

cells.” Id. In short, the way that I read Prof. Butler’s report, he essentially is saying a POSA

would ignore the claimed concentration ranges altogether. I disagree.

      75.     Prof. Butler’s assumption that the claimed concentration limits are entitled to

equivalence to any functional amount of the ingredient underlies his analysis of each of the trace

element-containing ingredients.     For example, Prof. Butler explains that the function of

CoCl2.6H2O is to provide a trace amount of cobalt (II), which he asserts plays a role as a

cofactor in certain vitamin-B12-dependent enzymes and other enzymes in mammalian cells. See

Butler report ¶ 46. While he identifies a function for the claimed ingredient, he does not

associate any function, way, or result to the claimed concentration of CoCl2.6H2O. In place of

this analysis, he concludes that “the differences in the concentration between the CoCl2.6H2O in

the [HyClone products] and in claim 1 are insubstantial,” because “the concentrations in the

[HyClone products] are close to the claimed concentration range.” Id. I disagree.
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      76.        Again, in offering this opinion, Prof. Butler does not provide any standard for

how he evaluates an “insubstantial” or “close” difference. Id. Further, Prof. Butler provides no

testing to support his characterizations of “insubstantial” or “close” difference with respect to an

ingredient’s function or concentration.

      77.        Prof. Butler then asserts that Prof. Wurm’s laboratory testing confirms that the

differences in amounts are insubstantial. Id. ¶ 47. But, as discussed in more depth below, Prof.

Wurm’s testing only measured cell growth and antibody production. He did not evaluate

whether the difference in concentration of CoCl2.6H2O led to a different result in its

performance—i.e., serving as a cofactor in certain vitamin-B12-dependent enzymes and other

enzymes in mammalian cells. At best, Prof. Wurm’s testing evaluated the overall performance

of the accused media, as opposed to the function, way, and result of each ingredient at the

specific concentration on a limitation-by-limitation basis.

      78.        Prof. Butler’s doctrine of equivalents analysis follows the same pattern for each of

the other missing claim limitations—i.e., the concentration elements for NiSO4.6H2O,

SnCl2.2H2O,       NH4VO3,      CuSO4.5H2O,       L-methionine,    L-valine,    L-histidine.HCl.H2O,

L-arginine.HCl, L-asparagine.H2O, NaH2PO4.H2O, Na2HPO4, and NaCl. That is, Prof. Butler’s

analysis again does not identify any function, way, or result associated with the non-infringing

ingredient in the claimed concentration ranges. Nor did he articulate any scientific basis for

evaluating whether the differences in the amounts of the ingredients are actually “insubstantial”

as he alleges.

      79.        Prof. Butler set out specific functions for each of these ingredients. Butler report

at ¶ 46 (function of CoCl2.6H2O); see also ¶¶ 49, 52, 55, 58, 67, 70, 74, 79, 84, 89, 92 (setting
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out the function of ingredients, each of which are not present in the claimed concentrations in

the accused HyClone products). He states that he would “expect, subject to experimentation”

that cells would perform similarly in the HyClone products as it would in media having the

concentration of the ingredients actually claimed. Butler report at ¶ 46. Yet, he provides no

experimentation and conducts no observations regarding these functions or the impact of the

different concentrations on the any aspect of the cells’ characteristics. As such, his conclusions

are based on speculation and do not assess equivalence on a limitation-by-limitation basis for

any limitations alleged to be equivalent.

      80.     Therefore, in my opinion, Prof. Butler’s analysis does not address the key

question raised here: whether the concentrations of the ingredients at issue in the accused

products are equivalent to the concentrations of those ingredients claimed in the patent. Prof.

Butler avoids identifying the function, way, and result associated with each of the missing

concentrations. Instead, without justification from the patent specification and claims, Prof.

Butler adopts a broad functional test under which, in his opinion, any differences in the

concentrations of the ingredients are deemed “insubstantial,” or he “expects” them to be

insubstantial, so long as the cells grown in the cell culture media perform similarly.

      81.     This analysis by Prof. Butler ignores the specific contribution of each of the

concentration ranges of claim 1, and instead attempts to make a general comparison of the

accused products against the claimed invention as a whole. Whatever test he purports to apply

to show equivalence, I understand it is not permissible under the law to avoid evaluating

equivalence on a limitation-by-limitation basis.
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      C.      The Broad Infringement Theory Advanced By Profs. Wurm And Butler
              Leave A POSA With No Practical Way To Assess Infringement Under The
              Doctrine Of Equivalents

      82.     I understand that the language of the patent claims serves an important notice

function—namely, to provide the public notice of the scope of the alleged invention. That is,

the public generally, and in particular, the patentee’s competitors, are entitled to clear and

specific notice of what the inventor claims as his invention. Such clear notice informs a

competitor, who may be contemplating an expensive investment, of what is permissible.

      83.     I have been informed that each element contained in a patent claim is deemed

material to defining the scope of the patented invention, and thus the doctrine of equivalents

must be applied to individual elements of the claim not to the invention as a whole.             I

understand that the application of the doctrine of equivalents, even as to an individual element,

cannot be allowed such broad play as to effectively eliminate that element in its entirety. I

further understand that equivalency must be determined based on the context of the patent, the

prior art, and the particular circumstances of a case. And consideration must be given to the

purpose for which an ingredient is used in a patent, the qualities it has when combined with the

other ingredients, and the function which it is intended to perform.

      84.     In evaluating claim 1 of the ’083 patent where there is no literal infringement, the

POSA’s job is made very difficult by the fact that all of the ingredients in claim 1—every single

one—are described in the public literature for use in serum-free cell culture medium. So when

faced with claim 1 of the ’083 patent, a POSA is given somewhat of a dilemma: how exactly

does this ’083 patent distinguish itself from what is in the literature? How do I, as a POSA,

know what I can use from the public literature and what I am prevented from using by the ’083
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    patent? In the specification of the ’083 patent, the inventors do not compare and contrast their

    invention to what already exists in the public domain. They make no claims regarding what is

    important and what is not important in their invention compared to what is in the public

    domain.

          85.    For example, a POSA would surely think he or she could use glucose in some

    capacity in their medium. Glucose was in Eagle’s medium in 1955. The same is true for lysine,

    valine, leucine, NaCl, KCl, riboflavin, thiamine and many more compounds that are all in

    Eagle’s medium formulation he published more than 60 years ago. Surely, a POSA would think

    that he or she was allowed to use these ingredients even though they are also in claim 1 of the

    ’083 patent. If a POSA can use all of these ingredients at some level, what does the patent

    prevent the POSA from doing? The most obvious answer is the claimed ingredients at the

    concentration ranges listed in claim 1. Because each and every ingredient in claim 1 of the ’083

    patent is in the public domain for a cell culture medium, the only limitation that would make

    sense to the POSA would be the concentration ranges specified in claim 1.

          86.    According to Profs. Wurm and Butler, a POSA considering whether to make a

    soluble composition that includes at least the 52 ingredients required by claim 1 (all of which

    were used to prepare cell culture media at the time) would have to conduct extensive and

    expensive testing 8 to assess infringement—even if the composition included chemically

    undefined ingredients, proteins, and recited ingredients far beyond the scope of the claimed

    concentration ranges.


8
  I understand that Janssen paid Prof. Wurm about $1 million to conduct his testing. Ex. 70
(Plaintiffs’ Responses and Objections to Defendants’ Interrogatory No. 7, dated July 22, 2016) at
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      87.     In fact, Prof. Wurm did not even conduct testing under the same conditions as

described in the ’083 patent. For instance, as discussed further below, the testing of the MET

1.5 medium in the ’083 patent was conducted using a perfusion bioreactor run over 29 days.

Glacken Invalidity Ex. 1, (’083 patent) at Examples 1-3. By contrast, Prof. Wurm conducted

testing in a batch culture at a much smaller scale for only up to 10 days. Wurm report at ¶¶ 67-

68. Conducting a full perfusion bioreactor test over the course of 29 days, as discussed in the

’083 patent, would be significantly more extensive and expensive to conduct.

      88.     Even if the doctrine of equivalents could be applied to claims 1 and 2 based on

testing, a POSA would find it difficult to apply that doctrine based on testing of the accused

products here because, among other reasons: (a) there are many ingredients of the accused

HyClone products that are outside of the claimed concentration ranges; (b) claim 1 is a

“comprising” claim, meaning that additional ingredients not addressed in claim 1 could affect

test results; (c) the broadly worded claim 1 already covers equivalents to MET 1.5, and there is

no specified testing in the ’083 patent for assessing further equivalents; (d) claim 1 does not

specify a publicly-available cell line to use for testing, and cell lines differ in their growth and

productivity response to cell media formulations (e.g., Ex. 81 (Lonza Presentation) at 12-14,

18); and (e) any testing for further equivalents would require undue experimentation, be

expensive and time consuming, and ultimately still be subject to criticisms and disputes.

      89.     In short, applying the doctrine of equivalents under the circumstances here would

not give a skilled artisan fair notice that the accused products infringe the asserted claims of the

’083 patent. Thus, a POSA reading claims 1 and 2—including the specific concentration
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    limitations of claim 1—would not conclude that either of these claims could reasonably be

    expanded under the doctrine of equivalents to cover the accused products here.

          D.       The Broad Infringement Theory Advanced By Profs. Wurm And Butler
                   Ensnares Prior Art.

          90.      I understand that the prior art can also limit the range of permissible equivalents

    of a claim limitation under a defense referred to as “ensnarement.” I understand that there can

    be no infringement under the doctrine of equivalents if the asserted scope of equivalency would

    encompass the prior art. I understand that, when determining whether the prior art restricts the

    range of equivalents of what is literally claimed, it may be helpful to visualize a hypothetical

    patent claim that is sufficient in scope to literally cover the accused product. I understand that

    the key inquiry is whether that hypothetical claim could have been allowed by the PTO over the

    prior art. I understand that if the hypothetical claim could have been allowed by the PTO in

    view of the prior art, then the prior art does not preclude the application of the doctrine of

    equivalents.   I further understand that if references may be combined to show that the

    hypothetical claim would have been obvious to one of ordinary skill in the art, the hypothetical

    claim would not have been allowed and the patentee cannot assert the doctrine of equivalents to

    cover the accused product. I understand that the burden is on the patentee to prove that the

    range of equivalence it seeks would not ensnare the prior art.

          91.      In my opinion, this principle applies here to bar the application of the doctrine of

    equivalents, because hypothetical versions of the asserted claims read upon the prior art. 9


9
  I have been informed by counsel that whether the prior art limits application of the doctrine of
equivalents to prove infringement is a separate inquiry from whether the asserted claims are
obvious over the prior art to prove invalidity. I note that, as set forth in my opening invalidity
report, the asserted claims are invalid as obvious over the prior art.
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                1.     Hypothetical Claims That Literally Encompass The Accused HyClone
                       Products Require Many Changes.

       92.      Below I have prepared hypothetical versions of the asserted claims that would

literally encompass both the accused HyClone products. For purposes of this analysis, I have

assumed that, for each of the literally absent claim limitations, the concentration of each

ingredient or each active component in the accused products represents the outer bound for

claims 1 and 2. I note, however, that neither Prof. Wurm nor Prof. Butler has made that

assertion. In other words, they have not identified what they purport to be the full range of

equivalents for each claim limitation; instead, they merely assert that the accused HyClone

products contain equivalent ingredients. Under their analysis, claims 1 and 2 may capture

products that are even further removed from the literal scope of those claims than the accused

products.

       93.      For purposes of my analysis, I identified each of the claim limitations that Profs.

Butler and Wurm agree are not literally met, and then re-wrote them to include the

concentrations of those respective ingredients or their active component in the accused HyClone

products.     The claim limitations that have been changed to conform to their analysis are

highlighted below.

                                        Glacken Table 7
             Claim 1 of the ’083 Patent                      Hypothetical DOE Claim 1
                                                          A soluble composition, suitable for
  A soluble composition, suitable for producing a
                                                        producing a final volume of cell culture
  final volume of cell culture media, wherein the
                                                      media, wherein the composition comprises
        composition comprises the following
                                                      the following components in the following
 components in the following amounts per liter of
                                                        amounts per liter of the final volume of
       the final volume of cell culture media:
                                                                  cell culture media:
            anhydrous CaCl2, 5 – 200 mg;                    anhydrous CaCl2, 5 – 200 mg;
            anhydrous MgCl2, 15 – 50 mg;                    anhydrous MgCl2, 15 – 50 mg;
     Case
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                                       Glacken Table 7
           Claim 1 of the ’083 Patent                     Hypothetical DOE Claim 1
         anhydrous MgSO4, 20 – 80 mg;                    anhydrous MgSO4, 20 – 80 mg;
          FeSO4.7H2O, 0.05 – 0.50 mg;                     FeSO4.7H2O, 0.05 – 0.50 mg;
         Fe(NO3)3.9H2O, 0.01 – 0.08 mg;                  Fe(NO3)3.9H2O, 0.01 – 0.08 mg;
          ZnSO4.7H2O, 0.40 – 1.20 mg;                     ZnSO4.7H2O, 0.40 – 1.20 mg;
     ferric ammonium citrate, 0.04 – 200 mg;        ferric ammonium citrate, 0.04 – 200 mg;
               KCl, 280 – 500 mg;                              KCl, 280 – 500 mg;
             NaCl, 5000 – 7500 mg;                       NaCl, 4556.829915 – 7500 mg; 10
          NaH2PO4.H2O, 30 – 100 mg;                   NaH2PO4.H2O, 30 – 262.965 mg; 11
             Na2HPO4, 30 – 100 mg;                        Na2HPO4, 30 – 432.635 mg; 12
         CuSO4.5H2O, 0.001 – 0.005 mg;                Copper (II), 0.00025-0.0013 mg; 13
          CoCl2.6H2O, 0.001 – 0.10 mg;               CoCl2.6H2O, 0.0003693 – 0.10 mg; 14
                                                   (NH4)6Mo7O24•4H2O, 0.0009636 – 0.005
     (NH4)6Mo7O24•4H2O, 0.001 – 0.005 mg;
                                                                  mg; 15
      MnSO4•H2O, 0.000070 – 0.0080 mg;               MnSO4•H2O, 0.000070 – 0.0080 mg;
                                                     NiSO4•6H2O, 0.000025 – 0.00109275
      NiSO4•6H2O, 0.000025 – 0.0005 mg;
                                                                   mg; 16
           Na2SeO3, 0.004 – 0.07 mg;                       Na2SeO3, 0.004 – 0.07 mg;


10
   HyClone’s production product contains 4556.829915 mg SODIUM CHLORIDE, about 91%
of the claimed lower limit.
11
   HyClone’s production product contains 262.965 mg SODIUM PHOSPHATE MONOBASIC
H2O, about 263% of the claimed upper limit.
12
   HyClone’s growth product contains 432.635 mg SODIUM PHOSPHATE DIBASIC, ANHY,
about 433% of the claimed upper limit.
13
   HyClone’s growth product contains 0.000536727 mg COPPER SULFATE-5H2O, about 54%
of the claimed lower limit. Prof. Butler asserts that the combined molar amount of copper (II)
contained in two ingredients in HyClone’s growth product (0.000536727 mg COPPER
SULFATE-5H2O and 0.001781929 mg CUPRIC CHLORIDE-2H2O) is equivalent to this claim
limitation. Butler report ¶¶ 59-61. He calculates that this claim limitation provides between
4.005-20.25 nmol copper (II), equivalent to 0.00025-0.0013 mg copper (II). Id.
14
   HyClone’s production product contains 0.000369285 mg COBALT CHLORIDE 6H2O, about
37% of the claimed lower limit.
15
   HyClone’s growth product contains 0.000963629 mg AMMONIUM MOLYBDATE 4H2O,
about 96% of the claimed lower limit.
16
   HyClone’s production product contains 0.00109275 mg NICKEL SULFATE-6H2O, about
219% of the claimed upper limit.
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                                       Glacken Table 7
           Claim 1 of the ’083 Patent                     Hypothetical DOE Claim 1
         Na2SiO3.9H2O, 0.02 – 0.4 mg;                     Na2SiO3.9H2O, 0.02 – 0.4 mg;
       SnCl2.2H2O, 0.000025 – 0.0005 mg;           SnCl2.2H2O, 0.0000079 – 0.0005 mg; 17
         NH4VO3, 0.0001 – 0.0025 mg;                 NH4VO3, 0.0000460 – 0.0025 mg; 18
           D-Glucose, 500 – 8000 mg;                       D-Glucose, 500 – 8000 mg;
        sodium pyruvate, 0.0 – 1000 mg;                  sodium pyruvate, 0.0 – 1000 mg;
      sodium hypoxanthine, 0.0 – 20.0 mg;            sodium hypoxanthine, 0.0 – 20.0 mg;
             glycine, 0.0 – 150 mg;                           glycine, 0.0 – 150 mg;
            L-alanine, 0.0 – 150 mg;                        L-alanine, 0.0 – 150 mg;
         L-arginine.HCl, 200 – 5000 mg;                    L-arginine, 165-4130 mg; 19
        L-asparagine.H2O, 40 – 250 mg;                     L-asparagine, 35-220 mg; 20
         L-aspartic acid, 20 – 1000 mg;                   L-aspartic acid, 20 – 1000 mg;
       L-cysteine.HCl.H2O, 25.0 – 250 mg;            L-cysteine.HCl.H2O, 25.0 – 250 mg;
          L-cystine.2HCl, 15 – 150 mg;                    L-cystine.2HCl, 15 – 150 mg;
          L-glutamic acid, 0 – 1000 mg;                   L-glutamic acid, 0 – 1000 mg;
       L-histidine.HCl.H2O, 100 – 500 mg;                   L-histidine, 44-370 mg; 21


17
   HyClone’s growth product contains 0.0000079 mg STANNOUS CHLORIDE 2H2O, about
32% of the claimed lower limit.
18
   HyClone’s growth product contains 0.000046 mg AMMONIUM METAVANADATE, about
46% of the claimed lower limit.
19
    HyClone’s growth product contains 63.33951 mg L-ARGININE-HCL, about 32% of the
claimed lower limit. Prof. Butler asserts that the combined molar amount of L-arginine
contained in two ingredients in HyClone’s growth product (63.33951 mg L-ARGININE-HCL
and 161.0401 mg L-ARGININE) is equivalent to this claim limitation. Butler report ¶¶ 76-77.
He calculates that this claim limitation provides between 0.949-23.735 mmol L-arginine, which
is equivalent to 165-4130 mg of L-arginine. Id.
20
   HyClone’s growth product contains 3.220802 mg L-ASPARAGINE-H2O, about 8% of the
claimed lower limit. Prof. Butler asserts that the combined molar amount of L-asparagine
contained two ingredients in in HyClone’s growth product (3.220802 mg L-ASPARAGINE-
H2O and 167.60913 mg L-ASPARAGINE) is equivalent to this claim limitation. Butler report
¶¶ 81-84. He calculates that this claim limitation provides between 0.266-1.665 mmol L-
asparagine, which is equivalent to 35-220 mg L-asparagine. Id.
21
   HyClone’s growth product contains 13.520338 mg L-HISTIDINE-HCL-H2O, about 14% of
the claimed lower limit. Prof. Butler asserts that the combined molar amount of L-histidine
contained two ingredients in HyClone’s growth product (13.520338 mg L-HISTIDINE-HCL-
H2O and 34.4929 L-HISTIDINE, comprising a total of 0.286 mmol L-HISTIDINE which is
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                                          Glacken Table 7
            Claim 1 of the ’083 Patent                        Hypothetical DOE Claim 1
           L-isoleucine, 50 – 1000 mg;                         L-isoleucine, 50 – 1000 mg;
             L-leucine, 50 – 1000 mg;                           L-leucine, 50 – 1000 mg;
          L-lysine.HCl, 100 – 1000 mg;                        L-lysine.HCl, 100 – 1000 mg;
           L-methionine, 50 – 500 mg;                  L-methionine, 37.5687000 – 500 mg; 22
           L-ornithine.HCl, 0 – 100 mg;                       L-ornithine.HCl, 0 – 100 mg;
         L-phenylalanine, 25 – 1000 mg;                      L-phenylalanine, 25 – 1000 mg;
             L-proline, 0 – 1000 mg;                             L-proline, 0 – 1000 mg;
              L-serine, 50 – 500 mg;                             L-serine, 50 – 500 mg;
              L-taurine, 0 – 1000 mg;                            L-taurine, 0 – 1000 mg;
            L-threonine, 50 – 600 mg;                           L-threonine, 50 – 600 mg;
            L-tryptophan, 2 – 500 mg;                          L-tryptophan, 2 – 500 mg;
       L-tyrosine.2Na.2H2O, 25 – 250 mg;                 L-tyrosine.2Na.2H2O, 25 – 250 mg;
             L-valine, 100 – 1000 mg;                    L-valine, 90.5603400 – 1000 mg; 23
              d-biotin, 0.04 – 1.0 mg;                           d-biotin, 0.04 – 1.0 mg;
      D-calcium pantothenate, 0.1 – 5.0 mg;             D-calcium pantothenate, 0.1 – 5.0 mg;
           choline chloride, 1 – 100 mg;                      choline chloride, 1 – 100 mg;
               folic acid, 1 – 10 mg;                             folic acid, 1 – 10 mg;
             i-Inositol, 10 – 1000 mg;                          i-Inositol, 10 – 1000 mg;
            nicotinamide, 0.5 – 30 mg;                         nicotinamide, 0.5 – 30 mg;
        p-aminobenzoic acid, 0.1 – 20 mg;                   p-aminobenzoic acid, 0.1 – 20 mg;
             riboflavin, 0.05 – 5.0 mg;                         riboflavin, 0.05 – 5.0 mg;
            thiamine.HCl, 0.5 – 20 mg;                         thiamine.HCl, 0.5 – 20 mg;
              thymidine, 0 – 3.0 mg;                             thymidine, 0 – 3.0 mg;
           vitamin B12, 0.05 – 5.0 mg;                         vitamin B12, 0.05 – 5.0 mg;


equivalent to 44 mg of L-histidine) is equivalent to this claim limitation. Butler report ¶¶ 72-74.
He calculates that this claim limitation provides between 0.477-2.385 mmol L-histidine, which is
equivalent to 74-370 mg L-histidine. Id. Thus, HyClone’s growth product contains about 60%
of the total amount of L-histidine provided in the composition of claim 1.
22
   HyClone’s growth product contains 37.5687 mg L-METHIONINE, about 75% of the claimed
lower limit.
23
   HyClone’s growth product contains 90.56034 mg L-VALINE, about 91% of the claimed lower
limit.
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                                            Glacken Table 7
               Claim 1 of the ’083 Patent                      Hypothetical DOE Claim 1
               linoleic acid, 0.01 – 2.0 mg;                    linoleic acid, 0.01 – 2.0 mg;
           DL-α-lipoic acid, 0.03 – 1.0 mg;                   DL-α-lipoic acid, 0.03 – 1.0 mg;
               pyridoxine.HCl, 0.5 – 30 mg;                    pyridoxine.HCl, 0.5 – 30 mg;
        putrescine.2HCl, 0.025 – 0.25 mg; and            putrescine.2HCl, 0.025 – 0.25 mg; and
           ethanolamine.HCl, 2 – 100 mg.                      ethanolamine.HCl, 2 – 100 mg.
               Claim 2 of the ’083 Patent                      Hypothetical DOE Claim 2
      The soluble composition of claim 1 further        The soluble composition of claim 1 further
                     comprising                                        comprising
     a buffering molecule with a pKa between 5.9        a buffering molecule with a pKa between
                     and 7.8 and                                     5.9 and 7.8 and
                       a cell protectant.                            a cell protectant.

         94.      Drafting these hypothetical claims to literally encompass the accused HyClone

 products, under Prof. Butler’s theory of infringement, requires broadening at least fourteen (14)

 claimed concentrations and rewriting four (4) claimed ingredients to recite simply the active

 component. 24 In my opinion, this exercise alone confirms that Profs. Butler and Wurm’s theory

 of infringement is untenable, because it requires materially rewriting claim 1 to literally

 encompass the accused products. As discussed below, because this hypothetical claim (as well

 as dependent claim 2) would ensnare the prior art, Janssen cannot assert that the accused

 products infringe under the doctrine of equivalents.

                  2.        The Hypothetical Claims Ensnare The Prior Art.

         95.      In my opinion, these hypothetical claims that literally encompass the accused

 HyClone products would cover prior art. Specifically, these hypothetical claims would have

24
   As identified above, for their doctrine of equivalents analysis of four claim limitations, Profs.
Butler and Wurm rely on calculating the combined amount of an “active component” provided
by two different ingredients in the accused HyClone products. In doing so, they re-write the
literal claim language requiring specific ingredients to recite merely the active component of the
ingredient.
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 been obvious to a POSA in view of at least the following combinations: (a) Jayme et al., Basal

 medium development for serum-free culture: a historical perspective, CYTOTECHNOLOGY,

 23:95-101 (1997) (“Jayme 1997”) (Ex. 11) in view of U.S. Patent No. 4,767,704 (“the ’704

 patent”) (Ex. 12) and the knowledge of a POSA; (b) WO 98/15614 (“the ’614 application”) (Ex.

 13) in view of the knowledge of a POSA; and (c) WO 04/078955 (“the ’955 application”) (Ex.

 14) in view of the knowledge of a POSA. See generally Glacken Opening Invalidity Report

 ¶¶ 202-260.

                      a.      Jayme 1997 and ’704 Patent

       96.     In my opinion, the hypothetical claims described above would ensnare the prior

 art as exemplified by the compositions of Jayme 1997 (Ex. 11) supplemented with the trace

 element mixture of the ’704 patent (Ex. 12) in view of the knowledge of a POSA. 25 Thus, the

 scope of equivalents of the asserted claims cannot be applied so broadly as to capture the

 accused HyClone products.

       97.     As demonstrated in Appendix A, the compositions of Jayme 1997 (Ex. 11)

 supplemented with the trace element mixture of the ’704 patent (Ex. 12) teach each of the

 elements of the hypothetical claims, except for the claimed form of the trace metal ions and the

 amount of ethanolamine HCl. Each of these differences is insubstantial under Prof. Butler’s

 reasoning supporting his theory of infringement under the doctrine of equivalents.




25
   I included an extensive discussion of the teachings of Jayme 1997, the teachings of the ’704
patent, and why a POSA would have been motivated to supplement the media of Jayme 1997
with the trace element mixture of the ’704 patent in the Glacken Opening Invalidity Report. See
Glacken Opening Report ¶¶ 117-131, 163-169, 227-28, Appendices 2, 3. I incorporate that
discussion as if set forth herein.
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       98.     First, Prof. Butler assumes that each of the claimed ingredients can be reduced to

 just its “active component” in the final cell culture media. He combines ingredients of different

 salt forms and ingredients of different hydrated/anhydrous states to calculate the combined

 amount of the active component. See, e.g., Butler report ¶¶ 57-61. He then compares the

 combined amount of the active component in the accused HyClone products to the amount of

 active component supplied by the asserted claims. Id. By the same reasoning, the hypothetical

 claims would ensnare the prior art that provides the same amount of the active component as

 supplied by the hypothetical claims. The ’704 patent discloses every trace metal recited in the

 hypothetical claims—namely, cobalt, molybdenum, nickel, selenium, silicon, tin, vanadium,

 copper, iron, zinc, and manganese. Ex. 12, (’704 patent), at cols. 7-8. In addition, as set forth

 in Appendix B, the amounts of the trace metals recited in the hypothetical claims and disclosed

 by the ’704 patent of the trace elements completely overlap. 26 Selecting the specific trace

 element-containing ingredient recited by the hypothetical claims, which were commonly used in

 cell culture media, would have been obvious to a POSA. See Glacken Opening Invalidity

 Report, Appendix 3.

       99.     Second, Prof. Butler assumes that the claimed amount of each of the ingredients is

 insubstantial. By the same reasoning, the claimed amount of ethanolamine HCl does not render

 the hypothetical claims novel or nonobvious. Jayme 1997 teaches that ethanolamine is added

 “as a serum extender to permit superior culture performance with reduced serum

 supplementation and as an additive to DMEM/F12 and similar basal media to permit serum-free

 cultivation of many cell types.”     Ex. 11, (Jayme 1997), at 98.       Adding the amount of

26
  I previously provided my calculations for these molar amounts in Appendix 2 to the Glacken
Opening Invalidity Report.
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 ethanolamine HCl commonly used in cell culture media would have been obvious to a POSA.

 See Glacken Opening Report, Appendix 3.

       100.    Thus, after drafting hypothetical claims that literally encompass both of the

 accused HyClone products, these hypothetical claims would have encompassed the

 compositions of Jayme 1997 supplemented with the trace element mixture of the ’704 patent.

                       b.       ’614 Application

       101.    The hypothetical claims described above also would ensnare the prior art as

 exemplified by the ’614 application (Ex. 13) in view of the knowledge of a POSA. 27 Thus, the

 scope of equivalents of the asserted claims cannot be applied so broadly as to capture the

 accused HyClone products.

       102.    As demonstrated in Appendix C, the basal cell culture medium of the ’614

 application contains every ingredient recited in the hypothetical claims, except for the claimed

 form of the trace metal ions and the amount of putrescine.2HCl. 28 Each of the differences

 between the hypothetical claim and the basal medium of Table 1 of the ’614 application (Ex.

 13) is insubstantial under Prof. Butler’s reasoning supporting his theory of infringement under

 the doctrine of equivalents.

       103.    As Appendix C shows, five of the six differences between the hypothetical claims

 and the cell culture medium recited in Table 1 of the ’614 application concern different forms of


27
   I included an extensive discussion of the teachings of the ’614 application in the Opening
Glacken Invalidity Report, which is incorporated by reference. See Glacken Opening Report ¶¶
174-179, Appendix 4.
28
   In other words, of the 122 claim elements, only 11 elements (5 ingredient elements and 6
concentration elements) are not literally met by the composition of Table 1 of the ’614
application. This is less than the 12 or 13 elements that Prof. Butler admits are not literally met
by CPM and CGM respectively.
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the same trace elements. The ’614 application teaches that the active component—not the

specific salt form—is needed for the cell culture media. Ex. 13. More specifically, the ’614

application teaches that the “[t]race elements which may be used in the media of the present

invention include ions of barium, bromium, cobalt, iodine, manganese, chromium, copper,

nickel, selenium, vanadium, titanium, germanium, molybdenum, silicon, iron, fluorine, silver,

rubidium, tin, zirconium, cadmium, zinc and aluminum.” Ex. 13, (’614 application), at p. 12, ll.

23-26 (emphasis added). The specifically recited salts are merely examples of the salt forms

that can deliver these trace element ions to the cell culture medium. Id. at p. 12, l. 26 – p. 13, l.

2. Notably, the cell culture medium of Table 1 of the ’614 application provides a source for

each of the active components (e.g., trace elements) recited in the hypothetical claims.

      104.    By Profs. Butler and Wurm’s same reasoning in asserting the accused products

infringe under the doctrine of equivalents, the cell culture medium of Table 1 of the ’614

application provides an equivalent source of the active component for each of the claimed

ingredients within the claimed amounts. As summarized in Glacken Table 8 below, for each of

the five claimed ingredients that is not expressly recited in the ’614 application, the ’614

application includes a corresponding ingredient that provides an active component in an amount

that overlaps with the total molar amounts of that active component in the hypothetical claim.
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                                        Glacken Table 8
        Comparison Of Hypothetical Claim Ingredients And ’614 Application Medium
                                        Concentrations
                         Total Amounts Of                              Total Amounts Of
 Hypothetical DOE                                  Table 1 of ’614
                       Active Component in                          Active Component in
        Claim 1                                       Ingredient
                        Hypothetical Claims                             ’614 Application
                                                                       Ferric ammonium
                                                                     citrate is an example
                                                                        of a ferric citrate
   ferric ammonium                                  Ferric Citrate     chelate. The ’614
 citrate, 0.04-200 mg;                           Chelate, 0.01-2 mg application teaches an
                                                                     amount that overlaps
                                                                    with the hypothetical
                                                                              claim.
     MnSO4•H2O,                                                         Manganese (II),
                          Manganese (II),           MnCl2•4H2O,
   0.000070-0.0080                                                   0.00000028-0.00028
                       0.000022-0.000026 mg        0.000001-0.001
           mg;                                                                  mg
 Na2SeO3, 0.004-0.07         Selenium,                 H2SeO3,              Selenium,
           mg;            0.0018-0.032 mg           0.00001-0.005   0.0000061-0.0031 mg
      SnCl2.2H2O,
                              Tin (II),                 SnCl2,      Tin (II), 0.00000063-
       0.0000079-
                       0.0000042-0.00026 mg       0.000001-0.0001         0.000063 mg
       0.0005 mg;
        NH4VO3,                                                            Vanadium,
                             Vanadium,                  NaVO3,
   0.000046 -0.0025                                                   0.0000045-0.00045
                        0.000020-0.0011 mg          0.00001-0.001
           mg;                                                                  mg

Selecting the specific trace element-containing ingredient recited by the hypothetical claims,

which were commonly used in cell culture media, would have been obvious to a POSA. See

Glacken Opening Invalidity Report, Appendix 4.

       105.   As Appendix C shows, the final difference between the hypothetical claims and

the cell culture medium recited in Table 1 of the ’614 application concerns the amount of the

ingredient putrescine.2HCl. Whereas the hypothetical claim requires between 0.025-0.25 mg

putrescine.2HCl, the ’614 application teaches incorporation of putrescine.2HCl in an amount of

0.0001-0.01 mg.      Ex. 13.    In other words, the ’614 application teaches the use of

putrescine.2HCl in an amount of about 40% of the claimed lower limit.
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       106.    Under Plaintiffs’ theory of infringement under the doctrine of equivalents, an

 ingredient present in an amount of 40% of the claimed lower limit is an insubstantial difference.

 Indeed, Prof. Butler has asserted that ingredients even further from the claimed range—i.e., in

 an amount even less than 40% of the claimed lower limit—are similarly insignificant. See, e.g.,

 Butler report ¶ 45 (CoCl2.6H2O is present in HyClone’s growth product in an amount of 37% of

 the claimed lower limit.); id. ¶ 51 (SnCl2.2H2O is present in HyClone’s growth and production

 products in an amount of 32% and 37% of the claimed lower limit).

       107.    Thus, after drafting hypothetical claims that literally encompass both of the

 accused HyClone products, in my opinion, these hypothetical claims would have encompassed

 the ’614 application medium in view of the knowledge of a POSA.

                      c.      ’955 Application

       108.    In my opinion, the hypothetical claims described above would ensnare the prior

 art as exemplified by the ’955 application (Ex. 14) in view of the knowledge of a POSA.29

 Thus, the scope of equivalents of the asserted claims cannot be applied so broadly as to capture

 the accused HyClone products.

       109.    As demonstrated in Appendix D, the medium in Table 3 of the ’955 application

 contains every ingredient recited in the hypothetical claims, except for the claimed form of two

 ingredients—the iron chelator/iron complex ferric ammonium citrate and NH4VO3. 30 But the

 medium of the ’955 application includes other ingredients—the iron chelator/iron complex

29
   I included an extensive discussion of the teachings of the ’955 application in my opening
invalidity report. See Glacken Opening Invalidity Report ¶¶ 197-201, Appendix 5.
30
   In other words, of the 122 claim elements, only 4 elements (2 ingredient elements and 2
concentration elements) are not literally met by the composition of Table 3 of the ’955
application. This is less than the 12 or 13 elements that Prof. Butler admits are not literally met
by CPM and CGM respectively.
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ferric fructose, and NaVO3—that have the same active component as the claimed ingredients

but in a different form. Ex. 14, (’955 application), at Table 3. These differences between the

hypothetical claims and the medium in Table 3 of the ’955 application are insubstantial under

Prof. Butler’s reasoning supporting his theory of infringement under the doctrine of equivalents.

      110.     The ’955 application teaches that the composition provided in Table 3 is “an

example of a basic composition” that is intended to provide the necessary components for an

animal-free medium, including a “source of … trace of elements.” Id. at p. 12, ll. 12-20. In his

analysis, Prof. Butler adopts this same premise that ingredients providing the same active

component are interchangeable to support his infringement theory under the doctrine of

equivalents.

      111.     By this same reasoning, the cell culture medium of Table 3 of the ’955 application

provides an equivalent source of the active component for each of the claimed ingredients

within the claimed amounts. As summarized in Glacken Table 9 below, for each of these

claimed ingredients that is not expressly recited in the ’955 application, the ’955 application

includes a corresponding ingredient that provides an active component in an amount that

overlaps with the ranges of total molar amounts of that active component supplied by the

hypothetical claim.
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                                  Glacken Table 9
      Comparison Of Hypothetical Claim Ingredients And ’955 Application Medium
                                   Concentrations
                      Total Amounts Of                            Total Amounts Of
 Hypothetical DOE                             ’955 Table 3
                    Active Component in                        Active Component in
       Claim                                   Ingredient
                     Hypothetical Claims                           ’955 Application
                                     Vanadium
      NH4VO3,
                          Vanadium,              NaVO3,               Vanadium,
  0.000046 -0.0025
                     0.000020-0.0011 mg      0.00001-0.2 mg      0.000042-0.084 mg
        mg;
                                              Iron

  Fe(NO3)3.9H2O,                 Iron,               Fe(NO3)3•9H2O,               Iron,
   0.01-0.08 mg             0.0014-0.011 mg            0.005-1 mg            0.00069-0.14 mg

    FeSO4.7H2O,                   Iron,               FeSO4.7H2O,                 Iron,
    0.05-0.50 mg              .010-0.10 mg             0.02-2 mg             0.0040-0.40 mg

                                                 Ferric fructose stock
  ferric ammonium                 Iron,                                           Iron,
                                                  solution, 50-1000
 citrate, 0.04-200 mg        0.0085-42.6 mg                                   0.025-0.50 mg
                                                          µL

                                 Iron,                                             Iron,
     Total Iron                                        Total Iron
                             0.020-42.7 mg                                     0.030-1.0 mg

      112.    Thus, after drafting hypothetical claims that literally encompass both of the

accused HyClone products, in my opinion, these hypothetical claims would have encompassed

the ’955 application medium in view of the knowledge of a POSA.

VIII. Janssen Also Cannot Rely On Prof. Wurm’s Testing To Show Infringement Under
      The Doctrine Of Equivalents.

      A.      Summary Of Prof. Wurm’s Experiments

              1.        Prof. Wurm Did Not Test The Accused Products But, Instead,
                        Purported To Replicate Them.

      113.    I have reviewed Prof. Wurm’s experimental design, data, and analyses. My

understanding is that Prof. Wurm did not use (and, in fact, Janssen never requested) actual
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samples of HyClone’s products. Instead, he attempted to create “replicas” of both the HyClone

growth (“CGM”) and production (“CPM”) products based on the formulations provided by

HyClone. Wurm report at ¶¶ 57-58. The “replicas” Prof. Wurm created, however, are not the

same as or even representative of the accused products.

              2.      Prof. Wurm Admitted That His “Replicas” Of The HyClone Growth
                      Product Are Not Identical To The Accused Products.

      114.    Prof. Wurm’s “replicas” of the HyClone growth product used in his testing were

not accurate productions of the accused HyClone growth product. For example, as Prof. Wurm

admitted in his supplemental declaration, the accused HyClone growth product includes the

ingredient galactose, which was omitted from Prof. Wurm’s preparation of his CGM “replicas.”

Supplemental Wurm report at ¶ 2.

      115.    In his opening report, Prof. Wurm provided in Table 10 of Annex 1 a listing of the

“components, supplier details, and concentrations of components” in his preparation of CGM.

Wurm report at Ex. B, Annex 1, Table 10. According to this list, his CGM contains

                   . Id. He also reported that                           was added to his “CC-

CGM”—a common core batch of CGM—that was used to create each of the “variants” of CGM

tested in his study, which are discussed below.

      116.    In his supplemental declaration, however, Prof. Wurm reported: “galactose was

inadvertently omitted from the CGM “replica” and the “variants” tested in the CGM laboratory

experiments described in my opening report (at paragraphs 57-80).” Supplemental Wurm

report at ¶ 2. Due to this omission, he admitted that “the CGM medium used in the CGM

laboratory experiments was not an exact replica of the hydrated CGM used by Celltrion. The

CGM variants created to test literal differences in concentration of other ingredients from the
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asserted claims also had the same inadvertent omission of galactose.” Id. Thus, in conducting

his CGM experiment, Prof. Wurm not only tested “replicas” instead of the accused HyClone

products, but the purported replicas of the growth product were not even “exact replicas.”

              3.      Prof. Wurm’s “Replicas” Added Five Ingredients That Are Not
                      Included In The Accused Products.

      117.    In preparing both of his CGM and CPM “replicas,” Prof. Wurm added five

ingredients that are not included in the accused HyClone products. As discussed, the accused

HyClone products are powders. Prof. Wurm did not prepare a powder version of the accused

products. Wurm report at ¶¶ 57-58. Instead, in his testing, “[t]he replica and variants were

prepared directly as liquid media.” Id. at ¶ 61. In preparing his CGM and CPM “replicas”

(including his “variants,” discussed further below), Prof. Wurm added 1.022 g/L of L-glutamine

and 2.1 g/L of sodium bicarbonate. Id. Prof. Wurm also added 0.5 mg/L mycophenolic acid,

2.5 mg/L hypoxanthine, and 50 mg/L xanthine (which he refers to as “MHX”) to his “replicas”

and “variants.” Id. at ¶ 63.

      118.    I understand, however, that the accused products, which HyClone manufactures in

the United States, do not contain sodium bicarbonate and glutamine. Id. at Ex. B, Annex 1,

Table 10. My understanding is that these ingredients are added to the HyClone products outside

the United States by Celltrion. More specifically, Celltrion adds            of L-glutamine and

        of sodium bicarbonate to both products outside of the United States. See Ex. 68 (GR-

MF-09-090 (Upstream Process Description for the Production of 000B)) at CELLREM-

0061051-52.

      119.    I also understand that the accused products, which HyClone manufactures in the

United States, do not include MHX. Wurm report at Ex. B, Annex 1, Table 10. In addition, I
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further understand that these ingredients are not ever added to the HyClone products, even by

Celltrion outside the United States. See Ex. 68 (GR-MF-09-090 (Upstream Process Description

for the Production of 000B)) at CELLREM-0061051-52.

      120.    Therefore, Prof. Wurm added five extra ingredients that are never included in the

accused products made in the United States—including three ingredients that are never added to

the accused products by Celltrion.

              4.       Prof. Wurm’s “Replicas” Included 29 Ingredients That Are Not
                       Claimed In The Patent.

      121.    Prof. Wurm’s CGM and CPM “replicas” also include 29 ingredients not listed in

the asserted claims.       HyClone’s production and growth products contain a total of 88

ingredients, as replicated by Prof. Wurm, but only 59 of these ingredients are recited in claim 1.

Compare Wurm report at Ex. B, Annex 1, Table 10; with Ex. 1, ’083 patent, at claims 1-2.

Prof. Wurm’s CGM and CPM formulations thus contain 29 additional unclaimed ingredients.

Wurm report at Ex. B, Annex 1, Table 10.

      122.    These unclaimed ingredients include chemically undefined ingredients

      (hydrolysate) and                , which, as discussed elsewhere in this report, contain

additional amino acids, trace elements, and other ingredients recited in claim 1. The unclaimed

ingredients found in the accused HyClone products also include the proteins           and

                       .

      123.    Prof. Wurm’s testing does not account for the contribution of these 29 additional

ingredients to the nature and performance of the claimed ingredients. As I explain below, these

29 additional unclaimed ingredients materially affect his results.
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               5.      Prof. Wurm’s “Variants” Do Not Test The Differences From The
                       Claimed Invention One Limitation At A Time.

       124.    Prof. Wurm prepared 13 “variants” of each the CGM and CPM “replicas.” Wurm

 report at ¶ 58. Each of the first 12 “variants” modified the composition of the CGM or CPM

 “replicas” with respect to one of the 12 literally absent claim limitations to bring the

 concentration of the ingredient from outside to inside the claimed concentration range. Id. The

 thirteenth “variant” made all 12 changes together. Id. None of these “variants” modified the

 CGM and CPM “replicas” to have only one missing claim limitation—i.e., having only one

 ingredient outside of the claimed range at a time. Id.

       125.    In creating the CGM and CPM “replicas” and their “variants,” Prof. Wurm

 apparently began with a “common core medium” that contained all the ingredients common to

 the tested media (except the “20%” and “PBS” controls). Wurm report at Ex. B at 6-8. This

 common core medium contains those ingredients at the lowest concentration common to every

 test media. 31 Id.   Because each ingredient in the core medium is at the lowest common

 concentration to every other test medium, certain ingredients required an increase in

 concentration—depending upon which test medium was desired (“replica” or “variant”). Id.

 These increases were completed by adding more of the similarly concentrated stock solutions of

 that ingredient to the formulation. Id. For his CGM and CPM “replicas,” Prof. Wurm started




31
   Prof. Wurm, to my knowledge, did not actually measure each ingredient to the milligrams he
reports in Annex A of his Exhibit B. Instead, I understand that he created stock solutions,
solubilizing the desired ingredient at a much higher concentration than required for the core
medium. Wurm report, Ex. B, at 6; Annex 3, Table 13. The test media was then created by
diluting each stock solution, with the intent for the final concentration of each ingredient to
match the concentrations reported in Annex A.
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 with the core medium and sought to add the necessary ingredients to replicate the formulation

 concentrations for the 88 ingredients.

       126.    Prof. Wurm then created 12 “variants” for each HyClone product, one “variant”

 for each literal difference. 32 According to Prof. Wurm, “[e]ach variant was identical to CGM

 except with respect to the literal difference from the claim element being tested.” Wurm report

 at ¶ 58. “For that element, either the source of the active component and/or the ingredient’s

 concentration was altered so that the variant literally met that claim element but was in all other

 respects identical to CGM.” Id.

       127.    Thus, each “variant” had one ingredient’s concentration modified to be within the

 claimed concentration, while the concentrations of 11 ingredients remained outside of the

 claimed ranges consistent with the formulations of the HyClone production or growth product.

 Id. That is, none of these 12 “variants” was missing only a single claim limitation.

       128.    Prof. Wurm also formulated a modified “variant” for both of HyClone’s

 production and growth products that he refers to as the “All Changes” “variant” in his expert

 report and the “all together changed” in his underlying laboratory report. Id. at ¶ 60 n.6; Wurm

 report at Ex. B at 6-8. I understand that this “variant” modified all of the 12 ingredients that do

 not literally infringe claim 1 such that each missing ingredient’s concentration has been brought

 to the far literal edge of the claimed concentrations (either upper or lower, depending on the

 ingredient) in one sample. Id.




32
   Although Prof. Wurm notes that there are 13 literal differences between claim 1 and the
accused HyClone growth product (see Wurm report at 14 at Table 1), Prof. Wurm only tested 12
variants of CGM—without a “variant” for the ingredient (NH4)6Mo7O24.4H2O.
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      129.    Prof. Wurm also used two alleged controls—100% PBS and a PBS at 20% final

dilution of HyClone’s products. Wurm report at ¶ 65. Prof. Wurm does not appear to provide

an explanation for why he chose these specific controls.

              6.     Four Of Prof. Wurm’s “Variants” Replaced HyClone’s Ingredients
                     With Claimed Ingredients.

      130.    When he prepared 4 “variants” of his CGM and CPM “replicas,” Prof. Wurm

altered his formulations by replacing an ingredient in the accused HyClone products with a

higher concentration of a claimed ingredient. Specifically, as shown in Tables 10 and 11 below,

the accused HyClone products include the following four additional unclaimed ingredients: (a)

cupric chloride 2H2O, (b) L-arginine, (c) L-asparagine, and (d) L-histidine. See Wurm report at

Ex. B, Annex 1, Table 10. Prof. Wurm reasoned that the 4 unclaimed ingredients did not need

to be included in these “variants,” because there is another ingredient in the accused HyClone

products that provides a second source of the same active component. Wurm report ¶ 60.

When preparing these “variants,” he substituted each of these 4 unclaimed ingredients with a

greater amount of the second source of the active component, i.e., the corresponding claimed

ingredient. Id. The tables below, as abridged from Prof. Wurm’s Tables 5 and 6 from Exhibit

B, summarize the differences in composition between the accused HyClone products and Prof.

Wurm’s “replicas” of these products with respect to these ingredients:
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                                    Glacken Table 10 33

           HyClone’s Growth Product                  Wurm’s CGM “Variants”

        CuSO4 5H2O, 0.000536727 mg, and
                                                    CuSO4 5H2O, 0.003146696 mg
           CuCl2 2H2O, 0.001782 mg

         L-arginine HCl, 63.33951 mg, and
                                                    L-arginine HCl, 258.08525 mg
             L-arginine, 161.0401 mg

       L-asparagine H2O, 3.220802 mg, and
                                                  L-asparagine H2O, 193.677649 mg
           L-asparagine, 167.60913 mg

       L-histidine HCl H2O, 13.520338 mg,
                                                    L-histidine HCl H2O, 100 mg
           and L-histidine, 34.4929 mg



                                     Glacken Table 11

          HyClone’s Production Product                Wurm’s CPM “Variants”

         CuSO4 5H2O, 0.00062087 mg, and
                                                    CuSO4 5H2O, 0.00363702 mg
          CuCl2 2H2O, 0.002059329 mg

          L-arginine HCl, 73.273 mg, and
                                                     L-arginine HCl, 292.883 mg
             L-arginine, 181.60095 mg

        L-asparagine H2O, 3.72475 mg, and
                                                   L-asparagine H2O, 224.02791 mg
            L-asparagine, 193.875 mg

        L-histidine HCl H2O, 15.63925 mg,
                                                     L-histidine HCl H2O, 100 mg
            and L-histidine, 39.903 mg

Wurm report at Ex. B at 7-8. Accordingly, each of these “variants” is missing an ingredient

found in the accused HyClone products.




33
  I understand that Prof. Wurm made one replacement per “variant.” Ex. 85 (Experiment
Layout Spreadsheet for Growth Product) at JANREM0107642; Ex. 86 (Experiment Layout
Spreadsheet for Production Product) at JANREM0107643.
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      131.    Prof. Wurm conducted no testing to validate how the absence of an ingredient

affects results of his CGM and CPM studies.         I note that Prof. Wurm’s testing for the

L-asparagine H2O “variant” and Prof. Butler’s analysis of those results do not support their

assumption that replacing the form of an ingredient would lead to the same results.           In

describing Prof. Wurm’s study of the L-asparagine H2O “variant,” Prof. Butler stated that “the

L-Asparagine.H2O “variant” in each experiment had the same total concentration of

L-Asparagine as the corresponding [HyClone products], with the only difference being the

amount of L-Asparagine that was supplied as free base and the amount supplied as

L-Asparagine.H2O.” Butler report at ¶ 128. Yet, Prof. Butler found statistically significant

differences when comparing the L-Asparagine.H2O “variant” to each of the accused HyClone

products. Id. He dismissed as “highly unlikely that the observed differences are attributable to

the different concentrations of the two forms of L-Asparagine.” Id. If true, the differences in

result must have be attributed to switching from two forms of L-Asparagine to only one form of

L-Asparagine. In which case, it is improper for Prof. Wurm to have replaced an ingredient in

the accused HyClone products with a higher concentration of a claimed ingredient, even though

they provide for the same active component.

              7.     Prof. Wurm Tested The Altered Accused Products To Produce
                     Janssen’s Proprietary Antibody.

      132.    Prof. Wurm did not use the same cell line that I understand Celltrion uses to

express the infliximab molecule. Instead, Prof. Wurm tested his “variants” using a cell line that

Janssen provided to produce Janssen’s proprietary antibody ustekinumab (CNTO 1275). Wurm

report at Exhibit B at 5. This cell line is “the C743B cell line, a ‘SP2/0 derived cell line that
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produces a fully human, anti-IL-12 mAb as the result of stable transfection.’ [’083 patent] (Col.

4:58-60).” Wurm report at ¶ 62.

       133.    Although the ’083 patent identifies the C743B cell line, it does not identify

ustekinumab as the specific antibody. Ex. 1, (’083 patent), at 4:58-60. Even if a POSA knew

the identity of the antibody produced in the ’083 patent, the materials required for this testing

would not be publicly available for use in testing. Prof. Wurm received the cell line and the

reference standard for ustekinumab directly from Janssen to conduct its testing. See Wurm

report at Ex. B at 5.

       134.    Therefore, Prof. Wurm’s experiment used a proprietary cell line to express an

antibody that neither Celltrion nor HyClone have expressed using the accused products. I

further note that, unlike the Janssen ustekinumab antibody produced in Prof. Wurm’s testing,

the cA2 antibody is chimeric (i.e., not fully human).

               8.       Prof. Wurm’s Experiments Include Steps Not Addressed In The
                        Patent.

       135.    Prof. Wurm sought to design a series of experiments to test “the substantiality (or

lack thereof) of the literal differences between the [HyClone products] and claim 1.” Wurm

report at ¶ 54. According to Prof. Wurm, “similar results in cell culture experiments would

confirm that the differences between the [HyClone accused products] and claim 1 are

insubstantial.” Id. at ¶ 55. Prof. Wurm then considered “the amount of antibody produced” and

“cell growth characteristics” which included only “viable cell density and viability over the

course of the culture.” Id. at ¶ 54.

       136.    Prof. Wurm did not run the same type of experiment as described in the ’083

patent. I understand that Prof. Wurm used a “batch culture” experiment to grow the tested
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 samples “in 50 mL orbitally-shaken tubes with a 10 mL working volume in batch mode.”

 Wurm report at ¶ 67. A batch culture experiment generally is an experiment where all the

 medium ingredients are provided only at the initiation of the cell culture. See Ex. 71, (Glacken,

 MW et. al.,     Mammalian cell culture:       engineering principles and scale-up, Trends in

 Biotechnology, 1:102-108 (1983) (“Glacken 1983”)). Consequently, the cell densities in Prof.

 Wurm’s experiments were relatively low. This is because in this type of experiment the media

 is not replenished throughout the growth of the cells. Therefore, as the nutrients are used up

 and toxic byproducts collect, the cells’ growth slows in these conditions. I further understand

 that this is not the procedure that Celltrion uses outside the U.S. when it grows cells using at

 least the HyClone production product. 34 Nor is it the procedure used in the ’083 patent. Ex. 1

 (’083 patent) at Examples 1-3.

        137.   I understand that Prof. Wurm analyzed each of his “replicas,” “variants” and

 controls in triplicate, and over a time period of 7 days (10 days for HyClone’s production

 product). Wurm report at ¶ 68. This means that only 3 samples were taken (triplicate). Id. at ¶

 66.

        138.   I note that at least the culture method and time period of Prof. Wurm’s tests are

 not discussed in the ’083 patent (which discloses only perfusion bioreactors and a 29 day

 growth period). Ex. 1, (’083 patent), at Examples 1-3. Prof. Wurm provides no explanation for

 these strategic changes in his experimental design.


34
  Celltrion, as is common in industrial settings,                              . See Ex.
79 (aBLA Section 3.2.S.2.2 (Description of Manufacturing Process and Process Controls)) at
CELLREM-008784-85.
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      139.     In sum, the ’083 patent does not provide a set protocol for testing whether a

particular cell culture media would infringe under the doctrine of equivalents. In conducting his

test, Prof. Wurm picked aspects from Celltrion’s manufacturing process, the patent’s

manufacturing process, and his own judgment. Prof. Wurm chose to test purported replicas of

the accused HyClone products supplemented with some—but not all—of the ’083 patent

optional ingredients to grow Janssen’s cell line—not Celltrion’s cell line—to produce the

antibody ustekinumab—not infliximab. In conducting this experiment, he chose to grow the

cells in 50 mL orbitally shaken tubes—not the bioreactors used by Celltrion or described in the

’083 patent.    He measured for just cell growth and antibody titer, which left out any

measurements of lactic acid production as described in the ’083 patent. He also measured these

factors for a period of 7-10 days—not the full 29-day period described in the ’083 patent. Ex. 1

(’083 patent) at Examples 1-3. Each of these choices that deviates from the ’083 patent limits

the ability of a POSA to conduct his or her own testing to determine whether a proposed cell

culture could infringe under the doctrine of equivalents.

      B.       Prof. Wurm’s Testing Was Not Properly Designed To Show Infringement
               Under The Doctrine Of Equivalents.

      140.     Prof. Wurm’s testing was not designed to show (and, as discussed next, did not

show) infringement under the doctrine of equivalents on a limitation-by-limitation basis.

               1.     Prof. Wurm’s Testing As To The HyClone Growth Media Is Not
                      Reliable Due To An “Inadvertent” Error.

      141.     In his growth media (what he refers to as “CGM”) experiment, Prof. Wurm

sought to compare the cell growth and antibody production of each CGM “variant” to his CGM

“replica.” But Prof. Wurm neither tested, nor accurately reproduced, the accused HyClone
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growth product in preparing his CGM “replica,” because he “inadvertent[ly]” omitted the

ingredient galactose.     Supplemental Wurm report at ¶ 2.     Thus, the basis for his CGM

experiment comparing each “variant” to his CGM “replica” is not reliable evidence of

infringement under the doctrine of equivalents, because his CGM “replica” is not an accurate

reproduction of the accused HyClone growth product.

      142.    Prof. Wurm maintains that “[t]he omission of galactose from the CGM

experiments does not alter [his] opinions about the results of the CGM experiments set forth in

my opening report.” Supplemental Wurm report at ¶ 3. He reasons that “[b]ecause galactose

was omitted from both the CGM positive control medium and its variants, the omission of

galactose does not impact the comparison of the CGM positive control to its variants in any

way.” Id.

      143.    I disagree.    Prof. Wurm’s infringement opinion is based on the critical, but

incorrect, assumption that the CGM “replica” is the accused HyClone growth product.

Therefore, his testing is not reliable evidence of whether the accused product infringes the

asserted claims under the doctrine of equivalents.

              2.        Prof. Wurm’s Testing As To Both The Growth And Production
                        Products Are Also Unreliable Because He Intentionally Altered The
                        Accused HyClone Products.

      144.    Even putting aside the problems in Prof. Wurm’s growth media experiment

discussed above, Prof. Wurm did not test either of the accused HyClone products. Instead, as

discussed, he altered the products by, among other things, adding 5 ingredients in addition to

water to the accused products manufactured by HyClone in the United States. Wurm report at

¶¶ 61, 63.
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      145.    According to Prof. Wurm, he added sodium bicarbonate and glutamine to the

accused products because: (a) “Celltrion prepares its liquid media … [adding] sodium

bicarbonate and glutamine,” (b) “[t]he ’083 patent similarly describes adding glutamine and

sodium bicarbonate,” and (c) these “are reasonable for mammalian cell culture.” Wurm report

at ¶ 61. With respect to MHX, Prof. Wurm added it to the accused products because: (a) the

Janssen cell line he used required it; and (b) MHX “in amounts of 0.5 mg/L mycophenolic acid,

2.5 mg/L hypoxanthine, and 50 mg/L xanthine” was also described in the ’083 patent. Wurm

report at ¶¶ 22, 63.

      146.    In my opinion, these product alterations render Prof. Wurm’s testing insufficient

to show infringement under the doctrine of equivalents. First, my understanding is that the

claims are directed to, and Plaintiffs assert infringement of, soluble compositions. I understand

that any act of infringement of a United States patent can only occur in the United States.

Instead, the inquiry, as I have been instructed, must focus solely on what is made, sold, offered

for sale, or used in the United States. The accused HyClone products made, sold, or offered for

sale in the United States relevant to this litigation do not contain any of the five ingredients

added by Prof. Wurm. Wurm report at Ex. B, Annex 1, Table 10. Therefore, Prof. Wurm did

not test the accused products.

      147.    Second, the mere fact that the ’083 patent “describes” adding these ingredients

does not, in my opinion, justify altering the accused products when conducting testing for

equivalence. As I understand it, the correct inquiry is comparing the asserted claims to the

accused products. Here, the asserted claims do not recite sodium bicarbonate, glutamine, or the

three ingredients in MHX. The accused products do not contain any of these 5 ingredients.
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 Wurm report at Ex. B, Annex 1, Table 10. Nevertheless, Prof. Wurm added all 5. Moreover,

 Prof. Wurm did not even use the same concentrations of sodium bicarbonate and glutamine

 added by Celltrion outside of the United States. 35 And Celltrion does not even add the 3

 ingredients in MHX to the accused products for use in South Korea.

       148.    Additionally, with respect to MHX, Prof. Wurm states that these 3 ingredients are

 added in order to facilitate expression of the antibody (whose titer he measures) in the cells he

 grows in the “variants.” Wurm report at ¶¶ 22, 63. However, in my opinion, this alters the

 products that Prof. Wurm is testing. Prof. Wurm does not provide any discussion or evidence of

 what these additional products contain or their effect on his measures of cell growth and

 antibody production—despite the fact that the testing is designed to assess the “function, way,

 and result” for particular ingredients.

       149.    Third, Prof. Wurm’s assertion that these ingredients “are reasonable for

 mammalian cell culture” is not relevant to the inquiry at issue here. Wurm report at ¶ 61.

 Again, adding these ingredients altered the HyClone products.

       150.    In sum, Prof. Wurm did not even test the accused products; instead, he tested

 altered replicas of those products that render the results unreliable. For this reason alone, his

 testing on altered products provides no reliable basis to conclude that these accused products

 infringe the asserted claims under the doctrine of equivalents. Prof. Wurm may assert that

 alterations to the product must be made to conduct media testing, but such an assertion would

 support my opinion set forth earlier in this report that a skilled artisan would not find it feasible

35
  While Prof. Wurm added 1.022 g/L of L-glutamine and 2.1 g/L of sodium bicarbonate, (Wurm
report at Ex. B at 4), Celltrion—again, outside of the United States—adds             of L-
glutamine and          of sodium bicarbonate for both products. See Ex. 68 (GR-MF-09-090
(Upstream Process Description for the Production of 000B)) at CELLREM-0061051-52.
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 to apply the doctrine of equivalents for the accused soluble compositions—particularly on a

 limitation-by-limitation basis.

               3.      Prof. Wurm Performed The Wrong Type Of Tests On His Altered
                       Replicas.

       151.    Prof. Wurm conducted the wrong types of experiments, and failed to assess how

 the differences between the accused products and the claimed compositions affect the nature of

 a resulting biologic product, or even the functions and results of the cells that produce the

 resulting biologic product. 36 Similarly, Prof. Wurm failed to consider whether the accused

 products result in each of the benefits purportedly afforded by the claimed product as described

 in the ’083 patent—namely, whether the accused composition “limit[s] eukaryotic cell damage

 resulting from shear forces and other cell-damaging processes that occur in the bioreactor

 vessels typically used for biopharmaceutical production… enable[s] eukaryotic cell cultures to

 have high viable cell densities (i.e., number viable cells/ml media) and high percentages of

 viable cells… permit[s] high titers of secreted biopharmaceutical products (i.e., antibody mg/L

 media) and high specific productivities (i.e., pg antibody/viable cell/day)… [or] limit[s] the

 production of lactic acid by cultured eukaryotic cells to permit the most efficient cellular use of

 glucose.” Ex. 1, (’083 patent), at 1:52-67. While these are the purported benefits of the claimed

 compositions, Prof. Wurm failed to evaluate eukaryotic damage or lactic acid production at all,




36
   As Janssen told the Court, “any substantial changes in the cell culture media being used to
make a biologic product will change the nature of the biologic product.” Ex. 72 (Brief in
Support of Janssen’s Motion to Modify the Protective Order to Permit Filing of a New Action
(D.I. 69-2)) at 2-3; see also Ex. 73 (Janssen v. Celltrion, 16-11117, Complaint, D.I. 1) at ¶76
(“any change in the media could cause a change in the characteristic of the biosimilar product
itself…”).
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and he did not appropriately evaluate cell density or specific productivities based on the actual

accused product.

                     a.      Prof. Wurm’s Experiments Are, At Best, Low-Resolution
                             Experiments That Cannot Provide Sufficiently Definitive
                             Information, Particularly In The Context Of This Inquiry.

      152.    Prof. Wurm’s experiments are lower-resolution experiments.             By “lower

resolution,” I mean experiments that, for example, provide for lower cell density and for shorter

durations. Lower resolution experiments have less of a chance of detecting differences in the

performance of various media formulations than other “higher resolution” experiments.

      153.    As described above, Prof. Wurm’s experiment was a batch experiment that

limited cell growth and antibody production in the tested media. In contrast,

                                                                                    or perfusion

bioreactor cultures (as described in the ’083 patent), are “higher resolution” experiments that

can achieve much higher cell densities and antibody production than batch cultures. See Ex. 68

(GR-MF-09-090 (Upstream Process Description for the Production of 000B)) at CELLREM-

0061050-52, CELLREM-0061091; Ex. 1 (’083 patent), at Examples 1-3; see, e.g., Ex. 71

(Glacken 1983) at 103-104 (explaining the differences between batch, fed-batch, and perfusion

cell culture systems). Notably, the example cell culture reported in the ’083 patent achieved

nearly a 10-fold greater cell density and 5-fold greater antibody titer than in Prof. Wurm’s

experiment. Compare id. at Figs. 1-2; with Wurm report at Figs. 1, 3, 4, 6.

      154.    Higher resolution culture experiments, like the one reported in the ’083 patent,

can measure differences in performance between two media compositions that are masked in the

“low resolution” culture of Prof. Wurm’s experiment. In my experience, media formulations
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that exhibited no or small differences at 3 million cells/mL (as achieved by Prof. Wurm’s

experiments) have exhibited differences when the signal-to-noise ratio is increased by culture

conditions that allow growth to 20 million cells/mL as in the examples presented in the ’083

patent. See, e.g., Ex. 81 (Presentation, Lonza, Behavior of Cell Lines in a Selection Strategy

(Alison Porter Presenter, BioProcess International 2007) at 12-14, 18 (illustrating that relative

performance in batch and fed-batch cultures can be very different, whereby the best media for a

batch culture may not be best media for a fed-batch culture). Thus, in my opinion, it is possible

that the different media formulations from Prof. Wurm’s experiment could yield different

results in a higher resolution experiment, and the resolution of Prof. Wurm’s experiments was

too low to detect such potential differences.

      155.    In addition to the lower resolution of Prof. Wurm’s batch cultures, and of some

importance,

                                          .     See Ex. 68 (GR-MF-09-090 (Upstream Process

Description for the Production of 000B)) at CELLREM-0061050-52, CELLREM-0061091.



                          Id. Biopharmaceutical manufacturing processes strive to attain high

cell densities and high product concentrations.

      156.    What the cells need and require from the cell culture medium in a low cell density

batch culture could be quite different than what is required, for example, at ten times the cell

density and for much longer culture times achievable in a fed-batch culture. For example, the

literature reflects that the most productive cell lines in batch culture may not be the most

productive cell lines in fed-batch culture, which shows that what the cells need in each system
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and how they respond are different. See, e.g., Ex. 81 (Lonza Presentation) at 12-14, 18. In a

fed-batch culture, waste products from the cells are allowed to accumulate for longer times and

to higher concentrations See Ex. 71 (Glacken 1983) at 103-104.               Cellular metabolic

requirements may be different when exposed to these waste products for much longer times and

higher concentrations than for the batch cultures of Prof. Wurm’s experiment.

      157.    Celltrion uses two different formulations for their process: HyClone’s growth and

production products.



                                              See Ex. 68 (GR-MF-09-090 (Upstream Process

Description for the Production of 000B)) at CELLREM-0061050-52, CELLREM-0061091; Ex.

79 (aBLA Section 3.2.S.2.2. Description of Manufacturing Process and Process Controls) at

CELLREM-0008787, CELLREM-0008789. If there were no differences in the metabolic needs

of the cells between high and low cell density, why then did HyClone create two different

media formulations? Why not just use one medium formulation?

      158.    As Prof. Butler acknowledged, “CGM and CPM each contain the same set of

ingredients that are uniformly (other than NaCl) about 15% more concentration in CPM than in

CGM.” Butler report at ¶ 96. Prof. Wurm’s experiment shows that changes in concentration in

the ingredients can have a synergistic effect. Synergy occurs between ingredients in cell culture

media as they work together, at particular concentrations in particular combinations, to achieve

desired cell growth or expression of a protein product. That 15% greater concentration in CPM

resulted in a 68% increase in the cells’ antibody production. Compare id. at ¶ 110 (The

maximum antibody titer measured in CGM at day 7 was 95.73 ± 1.86 mg/L.); with id. at ¶ 122
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(The maximum antibody titer measured in CPM at day 7 was 160.55 ± 2.56 mg/L.). A 68%

increase in antibody titer based on a 15% increase in ingredient concentration reflects synergy.

Prof. Wurm’s lower resolution experiment was not designed to detect which changes between

the CGM and CPM caused this 68% increase in antibody titer.

      159.   Thus, in addition to being a low resolution experiment that is less suited to

detecting differences in the performance of various media compositions, Prof. Wurm’s

experiment was not appropriate for detecting differences in the HyClone production medium,

which was designed for a much different purpose.

      160.   Quite simply,

                                  , and the ’083 patent describes a perfusion antibody

manufacturing process. But Prof. Wurm did not conduct either of these types of experiment.

                     b.      Prof. Wurm Should Have Performed A Higher Resolution
                             Experiment Such As A Fed-Batch Experiment.

      161.




                                                See Ex. 68 (GR-MF-09-090 (Upstream Process

Description for the Production of 000B)) at CELLREM-0061050-52, CELLREM-0061091.

Therefore, in addressing the question of whether or not the concentrations of the various

ingredients perform differently at the HyClone concentrations versus the concentrations of the
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 ’083 patent medium in the two measures of cell growth and antibody production, 37 it would

 have been more appropriate and relevant to utilize                            in a matrix format

 rather than the batch experiments employed by Prof. Wurm.

       162.    At best, this lower resolution experiment would only identify gross differences

 between the compared samples. It is merely a first step—certainly not sufficient to show

 equivalence. And Prof. Wurm stopped at that first step.

       163.    I would have conducted further analysis, such as a higher resolution experiment.

 To the extent testing for equivalence is even feasible under the circumstances of this case, Prof.

 Wurm at least should have designed testing, which is straightforward but far more sophisticated,

 that accounts for the potential synergy and/or inhibition between the ingredients in HyClone’s

 production product in fed-batch experiments. Because of the 29 additional ingredients that are

 not claimed but included in Prof. Wurm’s experiment, this type of test would require a matrix-

 based approach, with various combinations of the ingredients to assess, at the ingredient level,

 the effects of changes of the concentration of one ingredient on the ability of the cells to grow.

 In view of such a complex formulation, where clearly concentration is not the only thing

 contributing to cell growth and antibody production, one cannot answer the question of whether

 there is a difference between each of these limitations without a higher resolution experiment.

       164.    In my opinion, Prof. Wurm overstated the ability of this test to provide sufficient

 evidence to support his conclusions regarding infringement under the doctrine of equivalents.




37
   As discussed below, I disagree that it is appropriate to measure only cell growth and antibody
production to evaluate the function, way, and result of each missing claim limitation on a
limitation-by-limitation basis.
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               4.     Prof. Wurm’s Experiments Cannot And Do Not Assess Equivalence
                      On A Limitation-By-Limitation Basis.

      165.     Aside from the problems in Prof. Wurm’s testing discussed above, he did not test

the accused HyClone products to assess equivalence on a limitation-by-limitation basis as I

understand is required in order to determine whether an accused product infringes a claim under

the doctrine of equivalents.

                      a.       Prof. Wurm’s “Variants” Are Not Designed To Show
                               Equivalents On A Limitation-By-Limitation Basis

      166.     Prof. Wurm’s testing cannot show equivalent results on a limitation-by-limitation

basis because the “variants” he prepared were not properly designed for that purpose. In order

to demonstrate equivalence on a limitation-by-limitation basis, Prof. Wurm should have at least

created variants with all missing concentrations modified to be within the claimed concentration

range, except for one. This approach would have isolated the variants on a limitation-by-

limitation basis. But he did the opposite. Specifically, each one of his “variants” had 11

missing claim elements. Thus, it is not possible to assess equivalence—on a limitation-by-

limitation basis—given Prof. Wurm’s experimental design. At most, he is comparing altered

replicas that are each missing multiple claim elements.

      167.     Prof. Butler’s opinion based on Prof. Wurm’s testing appears to be based on the

mistaken impression that this testing actually compared variants on an element-by-element

basis. Prof. Butler explains that “[b]ecause equivalence under the doctrine of equivalents is

assessed on an element-by-element basis, the performance of each of the [HyClone products] in

cell culture was compared to the performance of variants each adjusted to reflect a single literal

difference.”   Butler report at ¶ 101.    This is an inaccurate description of Prof. Wurm’s
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experimental method. The “replicas” of the accused HyClone products were not compared to

“variants each adjusted to reflect a single literal difference,” but rather “variants” that each had

at least 11 literal differences to the asserted claims. For at least this reason, Prof. Wurm’s

testing does not actually provide a comparison on an element-by-element basis.

        168.   Although Prof. Wurm also created an “all together changed” media that had all of

the missing concentrations modified to be within the claimed concentration ranges, he did not

compare the “variants” to this claimed media, as discussed below. And even then, again, each

of those “variants” were deficient because none isolated a particular missing claim limitation—

and each “variant” contained 29 additional ingredients not included in claim 1 of the ’083

patent.

        169.   In short, Prof. Wurm did not compare a control of the claimed invention to any

media with only a single missing claim element—a comparison that, at a very minimum, would

be necessary to show equivalent results on a limitation-by-limitation basis.

                      b.      Prof. Wurm Incorrectly Compared The “Variants” To The
                              Accused Product, Instead Of To The Patent Claims.

        170.   In addition to analyzing the wrong products and not assessing equivalence on a

limitation-by-limitation basis, in my opinion, Prof. Wurm also performed the wrong

comparison. As stated above, I understand that, in order to demonstrate infringement under the

doctrine of equivalents, the patentee must compare each element of the accused product that

does not literally infringe to the patented invention. In my opinion, that is not what Prof. Wurm

did.

        171.   Prof. Wurm states unequivocally that he compared the “variants” to the HyClone

products—not to the patented invention. For example, Prof. Wurm states: “[E]xperimentally
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testing the relative performance in cell culture of the [HyClone products] compared with variant

media in which the literal differences are eliminated is highly informative in determining

whether the literal differences are substantial.” Wurm report at ¶ 55. He also said: “[T]he

performance of each of the [HyClone products] is assessed on an element-by-element basis, the

performance of each of the [HyClone products] in cell culture has been compared to the

performance of variants each adjusted to reflect a single literal difference.” Wurm report at

¶ 57. In summarizing his overall conclusions, Prof. Wurm states: “I conclude that each of the

element-by-element variants yields results that are substantially similar to CGM [or CPM].”

Wurm report at ¶¶ 79, 91.

          172.   This approach provides no information as to whether each claimed element that

does not literally infringe the claims in the accused products, functions in substantially the same

way to provide substantially the same results as the patented invention.           Therefore, any

comparison Prof. Wurm (and Prof. Butler) made between the “CGM” or “CPM” and the

“variants’ is irrelevant to any issue in this case.

          173.   Prof. Wurm also used a control which he refers to as “20% CGM.” Wurm report

at ¶ 65. He describes this control as “80% PBS and 20% of a common medium used to

reconstitute the positive control and all the variants.” Id. Prof. Wurm then states that the

“common medium contained nearly all of the ingredients in CGM, most of which were at the

same concentration as in CGM. Thus, the 20% CGM negative control is essentially a version of

CGM that has been diluted to a factor of five.” Id. However, Prof. Wurm does not describe the

purpose of this control. His description of “nearly all” and “most of which” provides no clarity,

either.
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                     c.      Prof. Wurm Did Not Address The Well-Known Functions Of
                             The “Trace Element-Containing Ingredients.”

      174.     Prof. Wurm only tested two aspects of the cell culture media he formulated:

whether cells grow in the media and whether those cells produce antibody. I understand that the

doctrine of equivalents must be proven on a limitation-by-limitation basis for each missing

ingredient, and it must be shown that the missing ingredient performs substantially the same

function in substantially the same way to obtain substantially the same results. Therefore, in my

opinion, to meet this burden, Prof. Wurm should have, among other things, evaluated the

function of each of the missing ingredients specifically—not just looked at overall cell growth

and antibody production. I understand that it is improper to apply the doctrine of equivalents to

an invention as a whole. At a minimum, Prof. Wurm should have evaluated at least the

following with respect to each trace element missing ingredient:

                                       Glacken Table 11
    Trace
   Element                    Specific Function(s) As Described By Prof. Butler
  Ingredient
                 “Trace amounts of cobalt are thought to play a role not only as a cofactor in
                 certain vitamin-B12-dependent enzymes but also as a cofactor in other
  CoCl2.6H2O     enzymes in mammalian cells (e.g., methionine aminopeptidase).” Butler
                 report at ¶ 46 (citing Kobayashi, M. and Shimizu, S., “Cobalt proteins,” Eur. J.
                 Biochem. 1(1), 1-9 (1999)).
                 “Trace amounts of nickel are thought to play a role as a cofactor for enzymes
  NiSO4.6H2O     in mammalian cells.” Butler report at ¶ 49 (citing Ragsdale, S.W., “Nickel
                 based enzyme systems,” J. Bio. Chem., 284, 18571-18575 (2009)).
                 “Trace amounts of tin are thought to play a role in biological activity that may
  SnCl2.2H2O
                 support cell growth.” Butler report at ¶ 52.
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                                        Glacken Table 11
    Trace
   Element                     Specific Function(s) As Described By Prof. Butler
  Ingredient
            “Trace amounts of vanadium are thought to play a role in enzyme activity
            mammalian cells [sic] that may support cell growth in culture…it is reported to
            have an insulin-mimetic effect.” Butler report at ¶ 55 (citing Bhattacharyya,
  NH4VO3
            S., Tracey, A.S., “Vanadium (V) complexes in enzyme systems—aqueous
            chemistry, inhibition and molecular modeling in inhibitor design,” Journal of
            Inorganic Biochemistry, 85, 1, 9-13 (2001)).
            “In cell culture media, copper(II) is a cofactor for enzymes in mammalian cells
            that may support cell growth culture. Additionally, it has recently been
            discovered that copper(II) plays a role in the regulation of cellular metabolism,
 CuSO4.5H2O
            at least in CHO cells.” Butler report at ¶ 58 (citing S. Nargun et al.,
            “Elucidating the role of copper in CHO cell energy metabolism using 13C
            metabolic flux analysis,” Biotechnol. Prog., Vol. 31:5, 1179-86 (2015)).

      175.     In my opinion, and as evidenced by Prof. Butler’s citations to various references

regarding these functions, tests to analyze these functions are described in the public literature

and could be used by a POSA. These same references also provide additional functions for

these same ingredients of which Prof. Butler made no mention. See, e.g., Ex. 82 (Kobayashi

1999) at JANREM0107717-19 (Cobalt plays an essential function in enzyme-mediated

pathways involved in cell growth, including (i) protein turnover (methionine aminopeptidase)

and (ii) collagen metabolism (prolidase).); Ex. 83 (Ragsdale 2009) at JANREM0107839-41

(Nickel plays an essential function in enzyme-mediated pathways involved in cell growth,

including (i) detoxification (Glyoxylase I); (ii) amino acid salvage (Acireductone Dioxygenase);

(iii) oxygen radical detoxification (superoxide dismutase); and (iv) energy metabolism and fatty

acid synthesis (Acetyl-CoA Synthase).). Yet, Prof. Wurm did not do any testing with respect to

these functions, ways, or results.

      176.     In addition, it is well known to a POSA that various ingredients frequently

included in cell culture media (and that are included in the accused products here) perform
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 different functions at different concentrations. These well-known and documented phenomena

 were not addressed by Profs. Wurm and Butler. 38           This further supports the difficulty of

 applying the doctrine of equivalents to the ’083 patent.

         177.   In my opinion, merely looking at overall cell growth and/or antibody production,

 like Prof. Wurm did, does not sufficiently address whether each individual missing ingredient

 performed substantially the same function, substantially the same way, for substantially the

 same result.

                       d.     Prof. Wurm Did Not Address The Well-Known Functions Of
                              The “Amino Acid Ingredients.”

         178.   Prof. Butler admits that the missing ingredients that are amino acids have a

 specific function in cell culture media as well: “[c]ells use amino acids to build new proteins –

 not only the proteins they use to survive, function, and multiply, but also any proteins (e.g.,

 biopharmaceutical antibodies) they are engineered to produce. In addition, cells use amino

 acids to generate the energy needed to survive, grow, and product proteins.” Butler report at

 ¶ 63. Prof. Butler goes further to state that “[t]he function the [amino acid missing ingredient]

 performs in the context of claim 1 is to provide an amount of the amino acid [missing

 ingredient] for the cells in culture, which they use to make proteins.”              Id. at ¶¶ 67

 (L-methionine), 70 (L-valine), 74 (L-histidine), 79 (L-arginine-HCl), 84 and (L-asparagine-

 H2O).


38
  Such ingredients include nickel, which at one concentration induces oxidative damage but at a
much lower concentration, interferes with DNA strand repair via two distinct pathways. See e.g.,
Ex. 74 (Dally & Hartwig). A second example is sodium chloride which at one concentration
results in certain osmolality, but a second, higher concentration actually increases the expression
of antibodies from certain cell lines when compared to cells grown in media with lower sodium
chloride concentrations. See, e.g., Ex. 75 (Chua 1994).
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      179.      Although Prof. Butler identified the function of each of the amino acids, neither

Prof. Butler nor Prof. Wurm can conduct any useful test for the function of the amounts of the

amino acids in the accused products because of the presence of the other 29 ingredients,

particularly the hydrolysate. Therefore, Prof. Wurm’s tests are inconclusive to determine if his

changes to these amino acid missing ingredients affected each amino acid’s performance in his

formulations.

                       e.     Prof. Wurm Did Not Address The Well-Known Functions Of
                              The “Phosphate-Containing Ingredients.”

      180.      Prof. Butler admits that the two “phosphate-containing” missing ingredients have

a specific function in cell culture media. Prof. Butler refers to the NaH2PO4.H2O and Na2HPO4

missing ingredients as the “phosphate-containing ingredients.” Butler report at ¶ 86. Prof.

Butler admits that the “primary function the NaH2PO4.H2O [and Na2HPO4] ingredient[s]

perform[] in the context of claim 1 is to provide an extracellular amount of the phosphate

nutrient. Cells require phosphate to create high-energy molecules that they use to generate the

energy needed to grow, survive, and produce the proteins the cell is engineered to produce.

Cells also require phosphate as a building block of DNA, needed for cellular DNA as the cells

divide.” Id. at ¶¶ 89, 92.

      181.      Although Prof. Butler identified the function of the phosphate-containing

ingredients, neither Prof. Butler nor Prof. Wurm evaluated whether the differences from the

asserted claims actually affected the function, way, or result of each of the “phosphate-

containing” missing ingredients. Prof. Wurm conducted no testing to determine if his changes

to these amino acid missing ingredients affected each ingredient’s performance in his adjusted

media.
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      182.    Further, as discussed above, certain concentrations of phosphate, similar to those

found in HyClone’s products (which is over 2- to 4-fold higher than the claimed ranges),

catalyze DNA synthesis in synergy with

         , which is different than participating as a building block in DNA synthesis. See Ex.

77 (Kanatani 2002). Despite the possibility that these ingredients could be performing multiple

functions, Prof. Wurm provides no functional testing.

      183.    Therefore, by merely looking at overall cell growth and/or antibody production,

Prof. Wurm did not sufficiently address whether the ingredients-at-issue at HyClone’s

concentrations performed substantially the same function, substantially the same way, for

substantially the same result. This is true at least because, as set forth above, each ingredient

could have multiple, specific function(s) that must be addressed to answer this question. And

neither Prof. Wurm nor Prof. Butler did so.

                     f.      Prof. Wurm Did Not Address The Well-Known Functions Of
                             The NaCl Ingredient.

      184.    Prof. Wurm’s testing does not address Prof. Butler’s admitted role of NaCl in the

accused products. For example, Prof. Butler admits that the “function of the amount of NaCl in

a medium is to make it approximately isosmotic (having the same osmolality) with

physiological fluids.” Butler report at ¶ 95 (emphasis added). He also admits that “[o]smolality

is a measure of the number of particles dissolved in solution. Physiological osmolality, that is,

the osmolality in living systems, is about 300 mOsm/kg, plus or minus about 10%.” Butler

report at ¶ 95. And, “[c]ell culture media are typically maintained at an osmolality in the

neighborhood of physiological [sic].” Butler report at ¶ 95. As Prof. Butler admits, “NaCl is a
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non-nutritive ingredient that is used to balance the osmolality of the medium” by varying the

concentration of the NaCl in the medium. Butler report at ¶ 95.

      185.    Therefore, Prof. Butler admits that the concentration of the NaCl present in a cell

culture media determines its function and may lead to a different result. Prof. Butler stated that

“the salt concentration to be a fluid, adjustable variable to control osmolality … [t]he more

concentrated the medium, the less NaCl is needed. The less concentrated the medium, the more

NaCl is needed.” Butler report at ¶ 95 (citing Jo et al., “Balanced Nutrient Fortification Enables

High-Density C[e]ll Culture in Batch Culture,” Biotech. Bioeng., 36, 717, 719 (1990) (Ex. 81)).

Prof. Butler also admits that “the reason the NaCl concentration is different in CGM and CPM

is to maintain an appropriate osmotic balance in each.” Butler report at ¶ 96.

      186.    In my opinion, and as Prof. Butler admits, the concentration of NaCl determines

the osmolality of a composition. Any change to the concentration of NaCl necessarily changes

the resulting osmolality. If more NaCl is added, the osmolality will change. If less NaCl is

added, the osmolality will change.       Therefore, at the very least, any change in NaCl

concentration must be considered as a change in osmolality.

      187.    Prof. Wurm did not measure the resultant osmolality of the formulation when the

NaCl concentrations were changed or for the controls used, to properly determine whether such

concentration changes changed the osmolality, as I would expect it would. And, then, of

course, any comparison should have been to the asserted claims, rather than the accused

products.

      188.    Although Prof. Butler identified the function of NaCl ingredient, neither Prof.

Butler nor Prof. Wurm evaluated whether the differences from the asserted claims actually
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affected the function, way, or result of the NaCl ingredient. Prof. Wurm conducted no testing to

determine if his changes to the concentration of the NaCl ingredient affected the osmolality of

any of his formulated compositions.

       189.    Therefore, for each of the ingredients at issue, Prof. Wurm’s tests (and resulting

data) do not instruct as to whether the changes he made to the ingredients at issue would affect

the ability of the cells to grow.

               5.      Prof. Wurm’s Samples Included 29 Ingredients Not Mentioned In
                       Claim 1 That Skew The Results.

       190.    Prof. Wurm’s results cannot show infringement under the doctrine of equivalents

for another, independent reason: As Prof. Wurm admits and as I describe above, he included 29

ingredients that are not claimed in each of his formulations, instead of using only the claimed

ingredients as the control.         These 29 ingredients, which include proteins and chemically

undefined ingredients, present variables that skew the results of Prof. Wurm’s experiments. In

other words, interactions between these additional 29 ingredients and those claimed may cause

effects such as inhibition and synergy that Prof. Wurm did not take into account.

       191.    I understand that claim 1 is a “comprising” claim and, therefore, the claims

include soluble compositions that can include ingredients in addition to those specifically

recited. But any testing to assess infringement under the doctrine of equivalents of the claimed

ingredients must account for these additional ingredients and, in particular, control for whether

they affect the functions and results of the individual claim elements at issue, which Prof. Wurm

did not do.

       192.    Particularly in light of Prof. Wurm’s testing which reduces the equivalence test to

solely the two broad measures of cell growth and antibody production, Prof. Wurm should have
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controlled for the effect of these 29 additional ingredients on these two measures. To the extent

that these 29 additional ingredients affect the extent of the tested outcome—cell growth and

antibody production—as a POSA would understand that they would, Prof. Wurm’s testing

cannot and does not compare each difference from the asserted claims on a limitation-by-

limitation basis, because the test was not designed to isolate the effect of these 29 additional

ingredients.

      193.     For instance, as discussed above, a POSA would readily recognize that the

inclusion of ingredients such as                                           , or               affect

the results of Prof. Wurm’s “replicas” and “variants.”




                                                                            As a result, one cannot

tell from Prof. Wurm’s experiments whether specific other ingredients in specific

concentrations perform the same functions, in the same ways, with the same results when those

concentrations are changed from the claimed ranges to those used by HyClone. In fact, the

additional 29 ingredients may render one or more of the ingredients recited in claim 1

unnecessary—meaning that the ingredient serves no function at all, thus rendering one or more

of the ingredients recited in claim 1 redundant. Neither Prof. Wurm nor Prof. Butler addresses

the effects of the 29 additional ingredients on the testing results. For this additional reason, the

opinions by Profs. Wurm and Butler do not show infringement under the doctrine of equivalents
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       C.       Given The Significant Issues With Prof. Wurm’s Testing Described Above,
                That Testing Is Insufficient And Unreliable Evidence To Show Infringement
                Under The Doctrine Of Equivalents.

       194.     In sum, there are several fundamental issues with Prof. Wurm’s testing, results,

 and analyses. And while each, in my opinion, individually undermines the value of these tests

 and the inappropriateness to rely on such information to draw conclusions regarding

 infringement, the combination of all of these issues renders Prof. Wurm’s entire analysis

 unreliable and otherwise insufficient to show infringement under the doctrine of equivalents—

 certainly on a limitation-by-limitation basis.

IX.    Prof. Butler Relies Heavily On Prof. Wurm’s Insufficient Testing And Otherwise
       Fails To Provide Opinions That Support Infringement Under The Doctrine Of
       Equivalents.

       195.     As discussed previously, Prof. Butler acknowledged that each of the ingredients at

 issue has demonstrated, in some systems, certain function in cell culture media. However, like

 Prof. Wurm, Prof. Butler performed no testing or analysis to determine whether the ingredients-

 at- issue (i.e., those that are not literally satisfied in the accused media) perform the same

 function in substantially the same way to provide substantially the same result as those in claim

 1. Also, as discussed above, Prof. Butler did not address the fact that these ingredients are

 known to have multiple functions. 39

       196.     Instead, Prof. Butler relied solely on Prof. Wurm’s testing and the following

 conclusory statements to justify his conclusions regarding infringement by the doctrine of

 equivalents:




39
   I note that the patent specification does not discuss the specific function(s) of each claimed
ingredient at the claimed concentrations.
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                                      Glacken Table 12
Ingredient at Issue                   Prof. Butler’s Evidence of Infringement
                                        (Other Than Prof. Wurm’s Testing)
                      “[T]he ingredient in the [HyClone products] is identical to the claimed
                      ingredient and the concentrations in the [HyClone products] are close
                      to the claimed concentration range. I would expect, subject to
   CoCl2.6H2O         experimentation, that mammalian cells would perform similarly in the
                      [HyClone products] as in media that was otherwise identical but had
                      CoCl2.6H2O within the claimed concentration range.” Butler report at
                      ¶ 46 (emphasis added).
                      “[T]he ingredient in the [HyClone products] is identical to the claimed
                      ingredient and the concentrations in the [HyClone products] are close
                      to the claimed concentration range. I would expect, subject to
   NiSO4.6H2O         experimentation, that mammalian cells would perform similarly in the
                      [HyClone products] as in media that was otherwise identical but had
                      NiSO4.6H2O within the claimed concentration range.” Butler report at
                      ¶ 49 (emphasis added).
                      “[T]he ingredient in the [HyClone products] is identical to the claimed
                      ingredient and the concentrations in the [HyClone products] are close
                      to the claimed concentration range. I would expect, subject to
   SnCl2.2H2O         experimentation, that mammalian cells would perform similarly in the
                      [HyClone products] as in media that was otherwise identical but had
                      SnCl2.2H2O within the claimed concentration range.” Butler report at
                      ¶ 52 (emphasis added).
                      “[T]he ingredient in the [HyClone products] is identical to the claimed
                      ingredient and the concentrations in the [HyClone products] are close
                      to the claimed concentration range. I would expect, subject to
     NH4VO3           experimentation, that mammalian cells would perform similarly in the
                      [HyClone products] as in media that was otherwise identical but had
                      NH4VO3 within the claimed concentration range.” Butler report at
                      ¶ 55 (emphasis added).
                      “[T]he total molar amounts of copper(II) supplied by CuSO4.5H2O and
                      CuCl2.2H2O in the [HyClone products] fall within the range of molar
                      amounts of copper(II) supplied by the claimed amount of
                      CuSO4.5H2O. This further confirms that the literal differences
                      between CuSO4.5H2O amounts in the [HyClone products] and the
   CuSO4.5H2O         claimed CuSO4.5H2O amount are insubstantial. I would expect,
                      subject to experimentation, that mammalian cells would perform
                      similarly in the [HyClone products] as in media in which the same total
                      concentration of copper (II) was supplied by an amount of
                      CuSO4.5H2O within the claimed concentration range.” Butler report at
                      ¶ 61 (emphasis added).
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                                    Glacken Table 12
Ingredient at Issue                 Prof. Butler’s Evidence of Infringement
                                      (Other Than Prof. Wurm’s Testing)
                    “[T]he ingredient in the [HyClone products] is identical to the claimed
                    ingredient, and the literal differences in concentration are small. I
                    would expect, subject to experimentation, that mammalian cells would
   L-methionine
                    perform similarly in the [HyClone products] as in media that was
                    otherwise identical but had L-methionine within the claimed
                    concentration range.” Butler report at ¶ 67 (emphasis added).
                    “[T]he ingredient in the [HyClone products] is identical to the claimed
                    ingredient, and the literal differences in concentration are small. I
                    would expect, subject to experimentation, that mammalian cells would
      L-valine
                    perform similarly in the [HyClone products] as in a medium that was
                    otherwise identical but had L-valine within the claimed concentration
                    range.” Butler report at ¶ 70 (emphasis added).
                    “[T]he ingredient in the [HyClone products] is identical to the claimed
                    ingredient and the concentrations, and the literal differences in
                    concentration are small. Furthermore, the impact of the literal
                    differences on the total molar concentration of L-histidine are reduced
L-histidine.HCl.H2O by the addition of L-histidine freebase. I would expect, subject to
                    experimentation, that mammalian cells would perform similarly in the
                    [HyClone products] as in media that was otherwise identical but had
                    L-valine within the claimed concentration range.” Butler report at ¶ 74
                    (emphasis added).
                    “[T]he ingredient in the [HyClone products] is identical to the claimed
                    ingredient, and the literal differences in concentration are small; indeed
                    there is no difference at all in the total concentration of L-arginine. I
  L-arginine.HCl    would expect, subject to experimentation, that mammalian cells would
                    perform similarly in the [HyClone products] as in media that was
                    otherwise identical but had L-arginine.HCl within the claimed
                    concentration range.” Butler report at ¶ 79 (emphasis added).
                    “[T]he ingredient in the [HyClone products] is identical to the claimed
                    ingredient, and the literal differences in concentration are small; indeed
                    there is no difference at all in the total concentration of L-asparagine. I
                    would expect, subject to experimentation, that mammalian cells would
 L-asparagine.H2O
                    perform similarly in the [HyClone products] as in media in which the
                    same total concentration of L-asparagine was supplied by an amount of
                    L-asparagine.H2O within the claimed concentration range.” Butler
                    report at ¶ 84 (emphasis added).
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                                      Glacken Table 12
Ingredient at Issue                   Prof. Butler’s Evidence of Infringement
                                         (Other Than Prof. Wurm’s Testing)
                       “[T]he ingredient in the [HyClone products] is identical to the claimed
                       ingredient, and the literal differences in concentration are small. I
                       would expect, subject to experimentation, that mammalian cells would
     NaH2PO4.H2O
                       perform similarly in the [HyClone products] as in media that was
                       otherwise identical but had NaH2PO4.H2O within the claimed
                       concentration range.” Butler report at ¶ 89 (emphasis added).
                       “[T]he ingredient in the [HyClone products] is identical to the claimed
                       ingredient, and the literal differences in concentration are small. I
                       would expect, subject to experimentation, that mammalian cells would
      Na2HPO4
                       perform similarly in the [HyClone products] as in media that was
                       otherwise identical but had Na2HPO4 within the claimed concentration
                       range.” Butler report at ¶ 92 (emphasis added).
                       “I would not expect the difference between the concentration of NaCl
                       in [HyClone’s production medium] and the claimed concentration of
        NaCl
                       NaCl to affect the performance of mammalian cells in cell culture.”
                       Butler report at ¶ 97 (emphasis added).

        197.   A few hours before this report was due, I received a Supplemental Declaration

from Prof. Butler regarding the supplemental declaration of Prof. Wurm, dated October 4, 2016,

reporting that galactose was omitted from his CGM “replica” and its “variants.” Supplemental

Butler report. Prof. Butler summarily concludes that “[t]his omission does not alter any of the

opinions set forth in my opening report.” Id. at ¶ 2. In my opinion, this conclusory opinion is

unpersuasive for the reasons discussed above.

        198.   In my opinion, for the reasons discussed earlier in this report, these opinions fall

short of showing infringement under the doctrine of equivalents.

X.      Defendants Have Non-Infringing Alternatives To The Accused Products.

        199.   I understand that the existence of a non-infringing alternative may relate to issues

in this case, such as whether Janssen can show irreparable harm to support injunctive relief. I

understand that a non-infringing alternative is available when the necessary materials,
    Case
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equipment, know-how, and experience are available to make an alternative product during the

relevant time. I understand that a non-infringing alternative must not have a disparately higher

price than or possess characteristics significantly different from the patented product.        I

understand that a non-infringing alternative need not have been on the market during the alleged

time of infringement if it could have been available.

      200.    In my opinion, there are myriad non-infringing alternatives to the asserted claims.

Since the accused HyClone products contain hydrolysate,

                   , in my opinion, it is quite likely that removal of one or more of the claimed

ingredients would yield an alternative cell culture media. Available non-infringing alternatives

are soluble cell culture media compositions that omit one or more of the ingredients recited in

claim 1. If Celltrion wanted to design around the claimed compositions, it might have been able

to omit one or more of those ingredients without making other changes. Or Celltrion could

have substituted additional ingredients (e.g., serum, proteins, or chemically undefined

ingredients) for recited ingredients.

      201.    Also, as discussed above, sourcing the accused products from HyClone’s

manufacturing plant in Singapore would constitute a non-infringing alternative. I understand

that Celltrion already has begun to purchase the accused HyClone products from its Singapore

plant, thus confirming the existence of this non-infringing alternative. See Ex. 70 (Purchase

Orders to GE Healthcare PTE. LTD (Singapore)) at CELLREM-0347016-17. I reserve the right

to supplement or amend my report and/or testify at trial as to any additional information

regarding this issue.
       Case
       Case1:17-cv-11008-MLW
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XI.     The Claimed Soluble Composition Is Not A Component Of Remicade®.

        202.   Janssen’s statements and the testimony of one of the ’083 patent inventors, Prof.

Epstein, make clear that Janssen has not used and does not use a soluble composition claimed to

grow expression cells that produce Remicade®.           See Ex. 78, (Janssen’s Responses to

Defendants’ Request For Admissions, dated May 31, 2016 at Nos. 6-8); Ex. 55, (Deposition of

David Epstein at 35-36, 151, 154-55, 175-76, 241). Accordingly, use of the ’083 patent is not

necessary to make infliximab, or Remicade® specifically.

        203.   Further, it is my opinion that none of the subject matter claimed by the ’083

patent is a component or feature of infliximab or Remicade®. Rather, the ’083 patent concerns

a soluble composition, which may be made into a media to grow cells.               The soluble

composition, however, is not a component of any drug substance derived from those cells.

        204.   In addition a soluble composition used to make media, in which cells are grown

which then ultimately express a particular protein, is not a component of the expressed protein,

just as the claimed soluble composition of the ’083 patent claims is not a component of

Remicade®, or of Defendants’ biosimilar infliximab.

        205.   As noted above, Profs. Wurm and Butler did not analyze any characteristics of the

downstream antibody produced in Prof. Wurm’s testing.

XII.    Conclusion

        206.   For the reasons discussed above, in my opinion, the accused HyClone production

and growth products do not infringe the asserted claims literally or under the doctrine of

equivalents.
